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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                                 Exhibit O
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          RPTR JOHNSON

    EDTR ZAMORA




    LESSONS FROM THE MUELLER REPORT, PART III:

    "CONSTITUTIONAL PROCESSES FOR ADDRESSING

    PRESIDENTIAL MISCONDUCT"

    Friday, July 12, 2019

    House of Representatives,

    Committee on the Judiciary,

    Washington, D.C.




          The committee met, pursuant to call, at 9:10 a.m., in Room 2141,

    Rayburn House Office Building, Hon. Jerrold Nadler [chairman of the

    committee] presiding.

          Present:   Representatives Nadler, Lofgren, Jackson Lee, Cohen,

    Johnson of Georgia, Deutch, Bass, Cicilline, Swalwell, Lieu, Raskin,

    Jayapal, Demings, Scanlon, Garcia, Neguse, Stanton, Dean,

    Mucarsel-Powell, Escobar, Collins, Gohmert, Jordan, Gaetz, Johnson of

    Louisiana, Biggs, McClintock, Lesko, Cline, Armstrong, and Steube.

          Staff Present:    Arya Hariharan, Deputy Chief Oversight Counsel;

    David Greengrass, Senior Counsel; Lisette Morton, Director Policy,
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    Planning and Member Services; Madeline Strasser, Chief Clerk; Moh

    Sharma, Member Services and Outreach Advisor; Susan Jensen,

    Parliamentarian/Senior Counsel; Sophie Brill, Counsel; Matt Morgan,

    Counsel; Brendan Belair, Minority Staff Director; Bobby Parmiter,

    Minority Deputy Staff Director/Chief Counsel; Jon Ferro, Minority

    Parliamentarian/General Counsel; Paul Taylor, Minority Chief Counsel,

    Constitution Subcommittee; and Andrea Woodard, Minority Professional

    Staff Member.
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          Chairman Nadler.    The Judiciary Committee will please come to

    order.   Without objection, the chair is authorized to declare recesses

    of the committee at any time.

          We welcome everyone to today's hearing on Lessons from the Mueller

    Report, Part III:    Constitutional Processes for Addressing

    Presidential Misconduct.

          I will now recognize myself for an opening statement.

          The title of today's hearing is Lessons from the Mueller Report,

    Part III:   Constitutional Processes for Addressing Presidential

    Misconduct.   As many of you may already know, the subtitle is a quote

    taken directly from Volume II of the Mueller report where the special

    counsel describes why he did not reach a, quote, prosecutorial

    judgment, close quote, regarding President Trump's conduct.

          There the special counsel explained that as an attorney operating

    within the Department of Justice, he is bound by Department policy,

    including an Office of Legal Counsel opinion that asserts that a

    President is immune from prosecution while in office.

          The special counsel, quote, recognized that a Federal criminal

    accusation against a sitting President would place burdens on

    the -- undue burdens on the -- or burdens on the President's capacity

    to govern, close quote.   Yet the Mueller report also acknowledged that

    such an accusation could, quote, potentially preempt constitutional

    processes for addressing Presidential misconduct, close quote.

          The special counsel's mention of these constitutional processes
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    should not be taken lightly.    It goes to the heart of Congress' role

    in our constitutional system of checks and balances, and that is the

    subject of today's hearing.

          As the Mueller report's frequent references to Congress make

    clear, Congress has a role in investigating the potential Presidential

    misconduct he uncovered so that it may determine how best to exercise

    its Article I authorities to act as check on the abuse or misuse of

    executive branch power.

          In light of its jurisdiction and past precedent, this committee

    in particular has a constitutional duty to investigate allegations of

    misconduct by executive branch officials, including the President of

    the United States, and is currently investigating allegations of abuse

    of power, public corruption, and obstruction of justice within the

    Trump administration.

          The purpose of this hearing is to examine the range of

    constitutional remedies available for addressing Presidential

    misconduct under its authority Article I authorities.       Today's

    discussion will aid the committee in determining the remedies available

    to it as the investigation unfolds.

          Under its Article I authorities, Congress has a number of

    responses to Presidential misconduct available to it.     With regard to

    the committee's responsibility to determine whether to recommend

    Articles of Impeachment against the President, Articles of Impeachment

    are already -- I'm sorry -- Articles of Impeachment are under

    consideration as part of the committee's investigation, although no
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    final determination has made.

          In addition, the committee has the authority to recommend its own

    Articles of Impeachment for consideration by the full House of

    Representatives.

          The committee seeks documentary evidence and intends to conduct

    hearings with Mr. McGahn and other critical witnesses testifying

    before us.   That is necessary to determine whether the committee should

    recommend Articles of Impeachment or any other Article I remedies, and,

    if so, in what form.

          The committee is also considering other responses to the conduct

    under investigation.    While censure of the President is rare, Congress

    has previously passed measures expressing disagreement with specific

    Presidential conduct.    The committee is considering several pieces of

    legislation that would address the allegations of misconduct uncovered

    by the special counsel's investigation and other serious policy

    concerns raised by the Mueller report.

          Legislative proposals to determine misconduct described in the

    Mueller report include measures that would increase transparency with

    regard to White House communications concerning law enforcement

    investigations.    Those proposals also include measures to impose

    additional safeguards to protect the integrity and independence of

    future special counsel investigations.

          The committee also has been referred proposals to amend the

    Constitution to limit the scope of executive clemency and legislation

    to increase transparency regarding Presidential pardons, which
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    responds to additional fact patterns described in the report.

          Volume I of the Mueller report also documented numerous troubling

    contacts between the Trump campaign and individuals associated with

    the Russian Government.    As a result, several Members have introduced

    legislation that would impose a duty on campaigns to report their

    contacts with foreign governments.

          With regard to possible criminal, civil, or administrative

    referrals, the Justice Department has discretion as to whether to act

    upon a referral by Congress for prosecution or civil enforcement.     As

    even DOJ policy acknowledges, a President is not immune from criminal

    prosecution after leaving office, and I have introduced legislation

    that would toll the statute of limitations on Federal offenses during

    a President's term in office.

          State authorities may also enforce State laws against the

    President.   The congressional referral process serves the important

    purpose of creating a record and preserving evidence for such time as

    prosecution, civil enforcement, or other administrative response is

    feasible.

          The committee cannot, however, determine which Article I remedies

    are appropriate without first ascertaining all of the relevant facts,

    and it cannot do so when the administration refuses to cooperate with

    legitimate congressional oversight.     That is why today's hearing will

    also give the committee the opportunity to consider the lawfulness of

    the administration's efforts to limit congressional oversight

    requests.
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          The Trump administration has asserted that several current and

    former government officials are, quote, absolutely immune, unquote,

    from having to comply with congressional subpoenas for testimony.

    However, the only court to ever consider such claims rejected them in

    a case involving this very committee's past effort to seek information

    about inappropriate White House involvement in the firing of several

    U.S. attorneys.

          In addition to asserting claims of absolute immunity, in quotes,

    the White House has instructed several witnesses not to comply with

    the committee's duly issued subpoenas for documents or to answer

    questions on the basis that the documents and answers are subject to

    executive privilege or would otherwise, quote, implicate

    constitutionally based executive branch confidentiality interests,

    close quote.   Needless to say, these assertions raise a host of

    problematic legal and constitutional issues.

          We have a distinguished panel of witnesses who can help us sort

    through the various constitutional processes implicated by the Mueller

    report, and I look forward to hearing their testimony.

          It is now my pleasure to recognize the ranking member of the

    Judiciary Committee, the gentleman from Georgia, Mr. Collins, for his

    opening statement.

          [The statement of Chairman Nadler follows:]



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          Mr. Collins.   Thank you, Mr. Chairman.

          I was sorry I was -- for a moment, I was -- you ever have one of

    those dreams, and there have been movies about this.      You have a dream

    that you wake up and you're back in school, you're back in high school.

    For me, it was back in Ms. McCall's class in North Hall High School

    government, American Government class.     And it's the proper role of

    government and the different checks and balances and, you know, what

    is Congress' role and what's the President's role and what's the

    judiciary's role.

          We can stop this hearing right now, because the chairman just laid

    out all of the congressional routes and avenues that Congress has to

    it.   And we're going to have a time -- and I'm glad the panel's here.

    Y'all are great folks.   You've got scholarly work.    We're going to hear

    some, you know, wonderful things.    But we've stopped right here.      The

    problem is we're just dragging this on.

          It's not that you want to come to impeachment.        The chairman

    talked about impeachment.    If that's what you want to do, then that's

    the part -- we don't need to discuss is this a constitutional right

    of Congress to do impeachment.    That is exactly what Congress' right

    to do.   The constitutional processes are very well addressed in the

    Constitution and in our processes.

          But instead, we come here today to have another almost impeachment

    hearing but not an impeachment hearing.    We want to get facts; we want

    to do this.   No, we're just waiting on and on.
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           I'm trapped back in 9th grade.       Ms. McCall was a wonderful

     teacher, but I don't want to go back through it again.       This is black

     and white.    We know this problem here.

           So what are we not doing?      Instead of this morning at 9 o'clock

     on a Friday, on a fly-out day, when we are actually -- the chairman

     and I have a bill on the floor here in just a little bit that actually

     touches real people's lives in New York from the 9/11 fund, which is

     a very valid thing that we need to be doing.

           Yesterday, we spent this entire committee time arguing over

     subpoenas and the discussion on the border, but yet why wouldn't we

     use this 9 o'clock time to actually have a markup of actual immigration

     bills such as mine that addresses border issues?     Now, you may discuss

     agree with what I propose, but that's what markups are for.         That's

     what actually is taking this time.    And you have a bill.   Put your bills

     up.   Let's actually get to actually solving real issues instead of

     having theoretical college discussions on what is Congress' power.       If

     we don't know what Congress' power is now, this hearing is not going

     to help us.   In fact, it's ridiculous.

           Legislation.   I agree with the chairman.      The chairman talked

     about election -- which actually the Mueller report actually found

     election interference.    Why aren't we putting those bills forward

     instead of having our authority taken over by the House Admin Committee

     on election bills because they don't want to run it through here?      Let's

     solve problems.

           Process.    Here's our biggest thing from yesterday.       And maybe
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     this is it, is what the process is.    We know what the process is.    The

     majority just can't find their way to figure out what they want to do

     with that process.

           And so next week, we have Robert Mueller coming in here, and the

     whole bottom row is disenfranchised, for the most part.     I guess there

     is some more negotiations going on.       I've read that in the media.

     Maybe I need to call Chairman Schiff and make sure that that was okay,

     because they were undoubtedly driving this ship, because they all get

     to talk next week.     My side doesn't and neither does the Democratic

     side get to talk.     It disenfranchises Florida, it disenfranchises

     North Dakota, it disenfranchises everyone.

           But instead of that, we're doing this.    It just, frankly, boggles

     the mind.     But I will say this:    If there's anybody on this

     committee -- and there are very wonderful people on both sides of this

     committee who are very, very intelligent.       And you can ask your

     questions today, and we can talk about the constitutional process, and

     you have got some great folks here to talk to you about it.

           But in all due respect, we know what the constitutional process

     is here.    We just want to dance around it so we can keep another round

     of stories going that the Judiciary Committee is pursuing harassment

     and doing what it needs to do to make sure this administration is held

     accountable because we don't like him.

           The economy is good, life is going better, and we don't like it

     because we don't like the November 2016 election.      That's all this is

     about.     We found that out again yesterday.   We're going to find it out
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     again this morning.

             So for everybody who didn't get to the wonderful ability to be

     in Ms. McCall's 9th grade American Government class at North Hall High

     School, this may be your opportunity.    Get your hornbooks out, get your

     study books out.    This is going to be a constitutional process of what

     we already know is our processes, but we're going to have some experts

     tell us what those processes are.

             Mr. Chairman, there's a lot of things you could be calling today.

     This isn't one of them.    Why don't we actually take up real legislation

     to fix the border crisis, to fix the issues that we all talk up about

     here?    Instead, we have hearings.

             Our body is to actually legislate.    You and I have legislated

     before.    Let's start legislating and stop the show.     But it is

     again -- the popcorn is cooking.      It's time, as I've always said, let

     the show begin.

             I yield back.

             [The statement of Mr. Collins follows:]



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           Chairman Nadler.   Thank you, Mr. Collins.

           And I will now introduce today's witnesses.

           Caroline Fredrickson is president of the American Constitutional

     Society for Law and Policy.    Previously, she was the director of the

     American Civil Liberty Union's Washington legislative office, held

     various positions in the Senate and served in the Clinton

     administration.

           Ms. Fredrickson received her JD from Columbia Law School, in my

     district, and her BA from Yale University.

           John Eastman is the Henry Salvatori Professor of Law and Community

     Service and the former dean at Chapman University's Dale Fowler School

     of Law.   He also serves as director of the Center for Constitutional

     Jurisprudence at the Claremont Institute.     Previously, Dr. Eastman

     served as a law clerk to Justice Clarence Thomas and to Judge J. Michael

     Luttig.

           Dr. Eastman received his Ph.D. from Claremont Graduate School,

     his JD from the University of Chicago Law School, and his BA from the

     University of Dallas.

           Michael Gerhardt is the Samuel Ashe Distinguished Professor in

     Constitutional Law at the University of North Carolina School of Law

     in Chapel Hill.   Professor Gerhardt served on then President-elect

     Bill Clinton's Justice Department transition team and drafted the

     administration's judicial selection policy.     He later served as

     special counsel to the Clinton administration and the Senate Judiciary
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     Committee.

           Professor Gerhardt received his JD from the University of Chicago

     Law School, his MS from the London School of Economics, and his BA from

     Yale University.

           We welcome our distinguished witnesses, and we thank you for

     participating in today's hearing.

           Now if you would please rise, I'll begin by swearing you in.

           Would you raise your right hands.

           Do you swear or affirm under penalty of perjury the testimony

     you're about to give is true and correct, to the best of your knowledge,

     information, and belief, so help you God?

           Thank you.

           Let the record show the witnesses answered in the affirmative.

     And thank you and please be seated.

           Please note that your written statements will be entered into the

     record in its entirety.    Accordingly, I ask that you summarize your

     testimony in 5 minutes.    To help you stay within that time, there's

     a timing light on your table.    When the light switches from green to

     yellow, you have 1 minute to conclude your testimony.    When the light

     turns red, it signals your 5 minutes have expired.

           Mr. Fredrickson, you may begin -- Ms. Fredrickson -- I'm

     sorry -- you may begin.
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     TESTIMONY OF CAROLINE FREDRICKSON, PRESIDENT, AMERICAN CONSTITUTION

     SOCIETY; JOHN EASTMAN, HENRY SALVATORI PROFESSOR OF LAW AND COMMUNITY

     SERVICE AND DIRECTOR, CENTER FOR CONSTITUTIONAL JURISPRUDENCE, CHAPMAN

     UNIVERSITY, FOWLER SCHOOL OF LAW; AND MICHAEL GERHARDT, SAMUEL ASHE

     DISTINGUISHED PROFESSOR IN CONSTITUTIONAL LAW, THE UNIVERSITY OF NORTH

     CAROLINA SCHOOL OF LAW



     TESTIMONY OF CAROLINE FREDRICKSON



           Ms. Fredrickson.   Good morning.   Thank you, Mr. Chairman.

           My name is Caroline Fredrickson.    I'm the president of the

     American Constitution Society.

           ACS has worked to promote informed public evaluation of the

     investigations into Russian interference in the 2016 election.       It is

     with this background that I'm pleased to testify on the constitutional

     processes for addressing Presidential misconduct.

           The final report issued by Special Counsel Robert Mueller on

     Russian interference in the 2016 election reached several chilling

     conclusions.   Russia conducted wide-ranging attacks on our Nation's

     election system.   The Trump campaign had multiple contacts with

     Russian nationals and did not report these interactions to U.S.

     authorities.   And there's substantial evidence that President Trump

     repeatedly attempted to thwart the investigation, including through

     his unheeded requests to the White House Counsel to fire the special
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     counsel, create a false paper trail, and make public misrepresentations

     regarding this incident.

           To say these findings are troubling is an understatement.      It is

     Congress' constitutional duty to respond.     Close examination of how

     Russia executed these interference strategies is necessary to inform

     this committee and other committees of jurisdiction how to best tailor

     a wide range of legislative initiatives on subjects from electronic

     data protections to the provision of additional funding or resources

     for U.S. agencies responsible for monitoring and investigating foreign

     interference, to the integrity of special counsel inquiries, to

     ensuring limits on political interference with Department of Justice

     decisionmaking.

           Although congressional oversight might eventually lead to

     impeachment, it does not have to do so.     The Supreme Court has long

     held that Congress' oversight authorities are inherent in the Article

     I legislative powers.    These authorities are broad and encompass

     matters including, quote, the administration of existing laws,

     proposed or possibly needed statutes, and probes to expose corruption,

     inefficiency, and waste.    Indeed, the Court has emphasized that

     oversight is essential to the conduct of government.

           This committee has additional constitutional authorities to

     conduct oversight, under Article I, Section 2, stating that the House

     of Representatives has the sole power of impeachment.

           Congressional investigations often lead to new laws, but some

     investigations have led Congress to conclude that enacting new laws
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     is not necessary to address issues identified in the inquiry.

     Sometimes congressional oversight has led to executive branch reforms.

     Other times, inquiries into alleged administration corruption have

     resulted in resignations, referrals, House or Senate resolutions

     memorializing disapproval of Presidential or other administration

     misconduct, or impeachment proceedings.

           Congressional oversight history is replete with investigations

     into alleged White House misconduct that did not involve impeachment.

     Many involved testimony from top White House aides, including White

     House counsels, chiefs of staff to the President, National Security

     Advisors, and top advisors to the Vice President and First Lady.

     Impeachment proceedings have begun without any formal vote of the

     House.

           In addition, for Presidential impeachments, the Judiciary

     Committee has conducted hearings to determine whether or not to

     recommend articles to the full House.   In the impeachment of President

     Nixon, the House Judiciary Committee had been considering Articles of

     Impeachment for close to a year before there was a full House vote in

     February 1974.

           With respect to the Mueller report and related information,

     several key unanswered questions demand rigorous congressional review.

     For example, how can Congress best protect our elections from future

     attacks by Russia or other hostile nations?     Why did Trump campaign

     officials, associates, and then-candidate Trump continue to have

     contact with Russians after becoming aware of the hacking?      Why did
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     some lie to investigators about these contacts, and why did they suggest

     publicly that Trump, quote, had nothing to do with Russia?      Does the

     substantial evidence of obstruction of justice and other misconduct

     merit further congressional action, including legislation, censure,

     impeachment, or referrals?    And finally, does the content behind the

     Mueller report redactions and gaps in evidence suggest any additional

     wrongdoing by the President or others?

           Congress' job has been made substantially harder by the

     administration's intransigence in resisting congressional oversight

     at every turn, instructing officials to disobey congressional

     subpoenas, and invoking broad claims of executive privilege.      And it

     has gone so far as to claim that this committee even lacks authority

     to investigate these matters in the first instance.

           Given the gravity of the Mueller report conclusions and the

     related information that has emerged publicly to date, a failure by

     Congress to examine these issues would constitute an abdication of

     Congress' fundamental constitutional oversight responsibilities.

           Thank you.

           [The statement of Ms. Fredrickson follows:]



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           Chairman Nadler.   Thank you.

           Dr. Eastman.



     TESTIMONY OF JOHN EASTMAN



           Mr. Eastman.   Thank you, Chairman Nadler and members of the

     committee.    I'm delighted to be here to participate in this hearing.

           But before turning to the substance of my remarks and addressing

     the precise question you've posed, I think it's important to take issue

     with the underlying assumption of the hearing contained in the full

     title of this hearing.

           By tying the question of Presidential misconduct to the Mueller

     report, you imply that the Mueller report identified Presidential

     misconduct that should trigger whatever constitutional processes might

     be available.   As a factual matter, I could not disagree more, for I

     do not find anything in that report even remotely rising to the level

     that would trigger the one constitutional path designed to address

     Presidential misconduct, and that's impeachment.

           I should also note that this is not the first time the

     judiciary -- a congressional judiciary committee has considered this

     question.    In 1998, the Senate Judiciary Committee, Subcommittee on

     the Constitution, held a hearing on impeachment or indictment.       I

     commend the proceedings of that hearing to your attention, particularly

     the extremely persuasive testimony and submitted scholarly work of Yale
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     law professor, Akhil Amar.   The conclusion he reached then is the same

     one I reach now, and it is the same one that has been reached by the

     Office of Legal Counsel in both Democrat and Republican administrations

     spanning nearly a half a century.

           Because of the unique role the Constitution assigns to the Office

     of President, a sitting President cannot be indicted.     That does not

     place the President above the law, as some have claimed, but it does

     recognize that the sole remedy envisioned by the Constitution for

     illegal conduct by a President, while he is President, is the

     impeachment process outlined in Article I, Section 3.

           As Professor Amar so aptly put it, the grand jury in such a case

     is the House, the indictment is the Articles of Impeachment, and the

     Senate is the petit jury.

           I won't go through the -- the conclusions of those two OLC

     reports, other than to very quickly summarize them.     The notion that

     the President can be himself a criminal defendant in a Federal

     prosecution would put him on both sides of the criminal prosecution.

     He is, after all, the Chief Executive of the Nation, responsible for

     the prosecutorial function of the Federal Government.

           It's also true that he has unique official duties that no one else

     in the government has, most of which, as the OLC report in 2000 under

     the Clinton administration acknowledged, most of which cannot be

     exercised by anybody else.   That strongly counseled them, both OLCs,

     to conclude that the President could not -- not only not be tried or

     incarcerated if convicted, but not even indicted, because it would
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     amount to such a fundamental intrusion on his executive duties, and

     therefore, impact greatly the entire Nation.

           But there's a third thing that the OLC report in 2000 offered that

     I think is even more dispositive:     The President's role as guardian

     and executor of the 4-year popular mandate expressed in the most recent

     balloting for the Presidency.   To allow a single prosecutor or a single

     grand jury regionally drawn in someplace in the country the ability

     to incapacitate a President who had been chosen through a national

     election by the people -- by the whole people of the United States is

     really contrary to our basic system of government.    That's why the OLC

     concluded the decision to terminate the mandate is more fittingly

     handled by the Congress than by a jury.

           And I think I want to close by looking at those OLC reports.   They

     focus on the fact that the impeachment process is done by elected

     Members of Congress who are politically accountable.      And it's that

     piece that I want to focus on.    Because if there is indeed anything

     in the Mueller report that rises to the level of treason, bribery, or

     other high crimes and misdemeanors, then the Members of this body will

     likely be held accountable politically if the House does not initiate

     impeachment proceedings.

           But the flip side of that coin is also true.     If, as I believe

     is clearly the case, nothing identified in the Mueller report remotely

     rises to that level, then the Members of this body who continue to pursue

     impeachment investigations and even formal impeachment proceedings

     that manifestly appear to the public to be an attempt to distract the
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     President from the performance of his constitutional duties, or worse,

     to negate the results of the 2000 election, then they too should be

     and likely will be held politically accountable.      That's why the

     Constitution assigns this awesome oversight authority to this body,

     but it comes with a political accountability that flows from that.

           We can get into the question and answer about the specific

     instances, but I think that the various instances that are alleged for

     obstruction of justice or Russia collusion pale in comparison to some

     of the things we know occurred by the prior administration.     And it's

     that level of comparison that I think the American people will

     ultimately choose to make as the political accountability for this

     committee and every Member of the House of Representative if they

     continue to pursue these things.

           Thank you for your attention.

           [The statement of Mr. Eastman follows:]



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           Chairman Nadler.   Thank you.

           Professor Gerhardt.



     TESTIMONY OF MICHAEL GERHARDT



           Mr. Gerhardt.   Thank you, Mr. Chairman.

           It's an honor to be here today and an honor to participate in

     today's hearings and to be a part of an important discussion about

     constitutional processes for Presidential misconduct.

           A good place to begin our discussion, I believe, is with the

     Supreme Court's decision in Nixon v. Fitzgerald, a 1982 decision by

     the Supreme Court that held that the President is immune to civil

     lawsuits seeking damages based on his official conduct.

           Near the end of its opinion, the Supreme Court talks

     about -- recognizes a number of other ways in which the Constitution

     allows for the President to be held accountable for his misconduct.

           There are formal mechanisms, for example, such as impeachment,

     such as congressional oversight, such as popular elections, that allows

     for considerable opportunity and, in fact, legitimacy for this

     committee and Congress to consider which, if any, possible ways it wants

     to consider for holding a President accountable for his misconduct.

           There's long history here, but let me cut to the chase.   The first

     mechanism, congressional oversight, is, of course, a longstanding

     legitimacy.   The Constitution does not require that this house follow
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     any particular procedures in trying to determine whether or not and

     how it may hold a President accountable for his misconduct.     In fact,

     just the opposite.

           Article I, Section 5 of the Constitution vests each body of

     Congress -- the House, the Senate -- with the authority to determine

     its own internal rules of governance.     The committee today is doing

     nothing more than following through in -- following through in

     accordance with the House rules.    That's all that's happening.     It's

     as simple as that.

           Besides congressional oversight, there are, as we recognize,

     other mechanisms.    One of them, of course, is impeachment.    I won't

     dally on that right now, but one thing to recognize about the

     possibility of impeachment is that the House, and particularly this

     committee, is fully entitled to consider what evidence there may be

     on whether a President committed misconduct, but also, what other

     evidence needs to be determined in order to reach a decision about

     whether or not to proceed further on any particular process relating

     to Presidential misconduct.    It's that simple.

           The Constitution does not require a series of hoops that this

     committee has to go through in order to make its determinations about

     what, if anything, to do with Presidential misconduct.      Just the

     opposite, as I said.   The Constitution vests considerable authority

     in each Chamber to determine its rules of governance, and here the

     committee's following through on that.

           Another mechanism we haven't discussed but could is censure.      I
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     have longed believed that censure is a legitimate option for this

     committee to consider, if and when it encounters or finds that a

     President or any other official has engaged in misconduct.       The

     authority isn't just derived from the fact the Constitution doesn't

     disallow censure; the authority is established by longstanding

     traditions and exercise of power within this body.

           For example, when Abraham Lincoln was a Member of the House of

     Representatives, he introduced a resolution criticizing President

     Polk's initiating, in his opinion, the illegal Mexican War.       His

     resolution didn't pass, but he did vote for a resolution that did pass

     82-81 holding President Polk accountable for unnecessarily initiating

     an unlawful war.

           That's good enough for me.   If President Lincoln thinks it's good

     enough for the House, I think it's longstanding authority we can follow.

           Other mechanisms, of course, involve possible lawsuits.        Civil

     lawsuits based on unofficial misconduct have been recognized, in

     Clinton v. Jones, as legitimate and they may proceed.      In addition,

     of course, there may be the possibility of criminal trials.

           One thing to understand about the possibility of criminal trials

     is, as Dr. Eastman just suggested, that there's a longstanding debate

     of whether or not a sitting President may be subject to criminal

     process.   I believe so.   I've set forth my arguments in my written

     statement.   I won't expound on them here, but I'm happy to answer

     questions about it.

           And, of course, the -- a final thing I hope you'll allow me to
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     just finish with is something that Raoul Berger, long recognized as

     one of the great authorities on impeachment, said 30 years ago in The

     New York Times.   He said by refusing to comply with the subpoenas of

     the House Judiciary Committee, President Clinton is setting himself

     above the Constitution.   No President is above the law.   No President

     can use his authority or any of his powers to thwart the powers of this

     body and therefore to be above and beyond any accountability to the

     law.

            Thank you very much for the opportunity to be here today.

            [The statement of Mr. Gerhardt follows:]



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           Chairman Nadler.     The committee will now stand in recess for

     5 minutes, and Democratic members will meet over here and the

     Republican members on their side.

           This will be a 5-minute recess.

           [Recess.]

           Ms. Scanlon.     [Presiding.]   The committee will now resume.

           And we'll now proceed under the 5-minute rule with questions, and

     I'll begin by recognizing Mr. Collins.

           Mr. Collins.     And I thank the chairwoman for doing that.      We've

     got to go to the floor and take up the 9/11 bill, so I appreciate that.

     And I won't be long.

           But, Mr. Eastman, let's talk just for a moment.       Do you think

     there's any possibility that this group of attorneys and nonattorneys

     on this Judiciary Committee have any -- or their staffs have any problem

     understanding the constitutional role of Congress and oversight of the

     administration, on any administration?

           Mr. Eastman.     I don't know the background of every member, but

     I think the usual member ought to know the answer to that.

           Mr. Collins.   And that would come from just, if nothing else, life

     growing up and taking, you know, government classes growing up,

     correct?

           One of the things I want to be interested in -- and there's a lot

     of things that people will talk about today, and we'll get into a lot

     of different things.     But one of the problems that I've had here -- and
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     we talk about constitutional process.    We also talk and the professor

     here talked about our internal processes and going on.    And one of the

     things that I've just been very disappointed in our committee for the

     last 6 months is our way we handle subpoenas and the way that we have

     went through contempt and how we have rushed through this process and

     how we've instead of -- you're familiar with subpoenas, correct?

           Mr. Eastman.   Yes.

           Mr. Collins.   And how they should operate.    Has a subpoena ever

     been -- and from a perception that you ever had, could a -- would a

     Black's Law Dictionary of a subpoena say that it is an opening to a

     dialogue?

           Mr. Eastman.   No.

           Mr. Collins.   Would it ever be said that a subpoena should be to

     enhance your standing in court?

           Mr. Eastman.   No.

           Mr. Collins.   Okay.   If that be true, then my question is, do you

     believe that it hurts us as an institution when we rush through these

     issues of contempt and subpoena?   And I would love for you to talk about

     that for a minute.

           Mr. Eastman.   Well, look, you know, I want to take up -- I agree

     with most of what Professor Gerhardt said.      The one point of

     disagreement I have is I don't think he gave enough credit to the notion

     that these fights over congressional subpoenas and congressional

     testimonies by the executive are ones that arise out of a deliberate

     design function of the Constitution, which is a separation and a
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     counterbalance of powers.

           Yes, the Congress has oversight authority, but there are limits

     to that authority, and those limits we typically classify generally

     as executive privilege.    And so most of the fights in our Nation's

     history over the issuance of subpoenas and the testimony of

     high-ranking executive officials deal with that counterbalancing

     authority that the executive has.     Congress cannot, in its oversight

     capacity, intrude on the executive functions, including the

     confidentiality of Presidential communications.      And I think that's

     well established as well.

           And the fight, then, is over whether these current round of

     subpoenas and demands for testimony are really designed to intrude on

     the executive in an unconstitutional way.      And I think that's where

     the conversation has to focus.

           Mr. Collins.   You talk about conversation and dialogue.        And

     this is one of the things that I've been in Congress, not my life, but

     the last 6-1/2 years, and I've noticed the battles that go between both

     Democrat and Republican administrations in the Hill.       This has been

     going on forever.

           Do you believe it's good -- and I've got several questions.       Do

     you believe it's good for a committee just to lead, with no conversation

     with an individual, to lead with a subpoena?

           Mr. Eastman.   I don't.   I think there's a lot of negotiation that

     has historically gone on on those issues.

           Mr. Collins.   And we went to the floor for contempt on very
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     limited terms, especially with the Attorney General in a shortened time

     here.

             The question that I would have here is -- if you look at this from

     a judge's perspective, when they say -- and we talk about -- and by

     the way, this committee seems to be unique in this, because other

     committees, such as the Intel Committee, actually negotiated and began

     to get stuff in the proper way of back and forth and back and forth.

     When we go to -- if we were to try and enforce one of these contempts

     that we have done with lack of foundation, lack of background, do you

     believe it hurts this committee and this institution as a whole?

             Mr. Eastman.   I think it would certainly undermine the claims in

     the court that the subpoenas or the efforts were made in good faith,

     and that would certainly undermine any -- any court's plan on giving

     enforcement effort to those things.

             Mr. Collins.   I appreciate it.   I know in my home county    of Hall

     County, my judges would look at me and say go back and do your job before

     you bring it to me.

             So with that, I do appreciate the chair's indulgence.        And with

     that, I'll yield back.

             Ms. Scanlon.   Okay.   Thank you.

             The chair recognizes Representative Lofgren for 5 minutes.

             Ms. Lofgren.   Thanks very much.

             I think this is an important hearing.      I noted the ranking

     member's comment that we should be taking up other subjects instead

     of this one.    And I can't help but recall that the Democrats, in terms
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     of election security, as a first order of business, introduced H.R.

     1 about election security and got no help from the minority party.   And

     my own bill, the SAFE Act, that we just passed 2 weeks ago to harden

     election systems got only one Republican vote.     So I think that's a

     bit disingenuous.

           Let me talk about the OLC opinion.   I've been interested in that

     for some time, and I'm wondering whether, Ms. Fredrickson or

     Mr. Gerhardt, you believe that the OLC opinion would cover

     activities -- criminal activities for any President that occurred

     prior to that President assuming office.

           For example, Spiro Agnew was -- left his position for bribery that

     was engaged in while he was in Maryland, before he was Vice President.

           What is your view on that?

           Ms. Fredrickson.   Well, I think -- just say two quick things, and

     then I think Professor Gerhardt probably has a more thorough answer.

           It's a -- one thing is that I think the Vice President is not

     covered.

           Ms. Lofgren.   No, I understand that.    I just meant that as an

     example.

           Ms. Fredrickson.   But I think that's just one of the weaknesses

     of the OLC opinion, is it does seem to indicate that -- insulate a

     President from judicial process in a way that I think is not consistent

     with the rule of law as understood by the Founders.

           Ms. Lofgren.   One of the questions I've had, if I can throw at

     you, in addition, Professor Gerhardt, is, is there any limit to this?
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     Let's say some day in the future, President A is annoyed with the Vice

     President, pulls out a gun, shoots the Vice President in the head in

     the Oval Office.     That would be a Federal crime.    Would that President

     A in the future be immune from prosecution?

           Mr. Gerhardt.    I hope -- I hope not.    And I respectfully disagree

     with the OLC opinion.     Obviously, OLC does fantastic work.       They're

     not right about everything.      Everybody is subject to scrutiny.       And

     in this case, I think they got it wrong.

           I've long thought that the President is not special.        Everybody

     in government is subject to criminal process.         And should anybody in

     government commit a crime, they're not entitled to any immunity.          I

     think that's the Constitution we have.

           In fact, to go back to your earlier question about whether or not

     a President -- we can just -- let's keep it hypothetical -- commits

     a crime before he is elected and nobody knows about it.          If we find

     out about it later, it's -- it becomes almost absurd to imagine that

     the country has to somehow sit tight for 4 or 8 years until he leaves

     office before he is subject to a criminal trial.         If that crime has

     any relationship to his election, and it almost certainly does because

     it would have affected people's votes to know about it, then I think

     the Constitution gets turned on its head.

           Ms. Lofgren.     Let me ask you this.    In terms of the OLC opinion,

     obviously they're just looking at Federal prosecutions.          We have 50

     States.   If the President A shoots somebody who is not a Federal

     official, in a State, that would be a violation of State law.
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     Would -- do you believe that the Constitution prohibits a State

     prosecution of a President for a State law violation?

             Mr. Gerhardt.    I don't believe it does, but I also should just

     point out, for the record, that this committee and this House of

     Representatives has confronted this issue already, to some extent, in

     the case of Thomas Porteous.

             Ms. Lofgren.    Right.

             Mr. Gerhardt.   Thomas Porteous was a Federal district judge who

     nobody knew --

             Ms. Lofgren.    We were on the committee during the impeachment,

     so --

             Mr. Gerhardt.    I won't go into details, if you don't want, but

     I think they're quite pertinent.        The point is he committed criminal

     misconduct before he entered his office as a Federal district judge.

     He didn't tell the Senate about it, and that turned out basically to

     be fraud against the Senate and was the basis for his impeachment.

             Ms. Lofgren.    Let me just ask a final question.    If the DOJ

     opinion is correct, it seems a logical extension is that the Federal

     prosecutors could not be expected to actually investigate a President.

             When you think back to the Nixon impeachment, Jaworski was -- you

     know, provided information to the Congress.         Certainly, Ken Starr

     provided us information.         I was on the committee at that time.

     Presumably, that would not be permitted if you could not prosecute a

     sitting President.

             Is that -- what do you think of that?
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           Ms. Scanlon.    Time has expired, but you can answer.

           Mr. Gerhardt.    Well, I think if a prosecutor finds evidence of

     obstruction, for example, then that may be an appropriate time to

     consider the propriety and legitimacy of criminal process.

           I think that no one -- the very principle of no one being above

     the law means just what it says.   Nobody's above the law.   A President

     can't obstruct an impeachment, you know, a House committee looking into

     the possibility of whatever misconduct he has committed, because if

     he could do that, then he really is above the law.

           Ms. Lofgren.    Thank you.   My time has expired.

           Ms. Scanlon.    Thank you.

           The chair recognizes the gentleman from Florida for 5 minutes.

           Mr. Gaetz.     Thank you, Madam Chair.

           Mr. Eastman, you've commented on the potential harms that can

     come with a special counsel that's unbridled.     Is there anything you'd

     like to add to that?

           Mr. Eastman.    Well, I mean, you know, I want to pick up on

     something that Professor Gerhardt said, the notion that the President

     would be above the law.    One of the things that has troubled me about

     the OLC opinions, which I think are correct, is that potential criminal

     liability may not exist at all for a sitting President for conduct

     either -- criminal conduct either while in office or before, given the

     statute of limitations problems.

           Both OLC memos recommended to Congress that they could address

     that issue, and I would encourage you to do so.    That would ensure that
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     no President is above the law at the end of the day.   But it would also

     ensure -- and I think this is what the OLC memos are both based on,

     and they would apply whether the criminal conduct occurred while in

     office or before -- the unique responsibilities of the President in

     our system of government and the ability of a single prosecutor or a

     single grand jury to interfere with that.    And I think that's why the

     OLC memos are correct.

           But to remedy the one shortcoming from that, you could address

     the statute of limitations thing.    And I think Chairman Nadler in his

     opening statement mentioned that that was one of the things that might

     be worth considering.    And I would endorse that.

           I do think, though, that the reasoning of the OLC memos,

     implicitly in the first one and explicitly in the second, also extends,

     although for different -- not separation of powers reasons, but for

     federalism reasons, to State authorities being able to indict the

     President.   And I think they're right about that as well.      That door

     is closed as well for the same reasons that a Federal indictment against

     the President, while he is sitting, is closed.

           And I think that's right.     It's a balancing act.   But the

     balance, given the unique nature of the President's role and the unique

     nature of his election, the only one, save for the Vice President, who

     is elected nationally, those two things have contributed to this

     immunity that OLCs of both sides of the political aisle have recognized,

     like I said earlier, over a span of 50 years.

           That doesn't keep the President off the hook, but it does shift
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     the discussion to a politically accountable body where people can be

     held to account if they abuse the investigative process.

           Mr. Gaetz.     You made mention of the President's unique powers and

     how they interface with an analysis of proper versus improper conduct,

     and you also make reference to the dealing with Director Comey.        Is

     there anything you'd like to add on that front?

           Mr. Eastman.     Well, you know, something that Chairman Nadler said

     in his opening that I disagree with, and I think is important to get

     out here, one of the pieces of legislation that is being considered

     is to expose White House communications with the Department of Justice

     to identify whether the President is having any role in prosecutorial

     decisions.   I think that idea fundamentally misunderstands the nature

     of Article II of the Constitution, which says the executive power, all

     of it, is vested in the President of the United States.

           The Attorney General, in its prosecutorial functions at the

     Department of Justice, holds that power derivatively from the

     President.   The FBI, in its investigative power, holds that power

     derivatively from the President.      The notion that the President can't

     be the one to make the prosecutorial or the investigative decisions

     is to completely undermine that core aspect of Article II.       And so I

     think that idea is just simply misguided.

           Now, if the President decided that Director Comey -- and I outline

     in my testimony why I think both sides of the political aisle in Congress

     were upset enough with Mr. Comey to have warranted removing him long

     before the President did, but the President had that authority himself.
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     And, you know, I don't think that -- exercising an authority that he

     constitutionally has rises to the level of obstruction of justice.

           Mr. Gaetz.     Thank you, Madam Chair.   I yield back.

           Ms. Scanlon.    The chair recognizes the gentlewoman from Texas for

     5 minutes.

           Ms. Jackson Lee.    I thank the chair very much.

           I'm going to read partly a statement by the former -- by former

     Federal prosecutors.     And I would also like to add, having been here

     in 1998 and also for a number of impeachment proceedings regarding

     Federal judges, when Mr. Starr handed our friends on the other side

     of the aisle the Starr report, they immediately began impeachment

     proceedings.   That was the historical record that was created.       I

     don't know if they were concerned about any factual basis other than

     the Starr report.

           In this instance, we are meticulously listening to scholars and

     interviewing individuals by way of subpoena and building -- the

     building blocks of the constitutional process and as well the building

     blocks of the understanding of the American people.

           Each of us believes that the conduct of President Trump described

     in Special Counsel Robert Mueller's report would, in the case of any

     other person not covered by the Office of Legal Counsel policy against

     indicting a sitting President, result in multiple felony charges for

     obstruction of justice.    They recount the President's efforts to fire

     Mueller and to falsify evidence about that report, about that effort,

     the President's efforts to limit the scope of Mueller's investigation
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     to exclude his conduct, and the President's effort to prevent witnesses

     from cooperating with investigators probing him and his campaign.

           Professor Fredrickson, do you find agreement with 1,025

     prosecutors, the possibility of such?

           Ms. Fredrickson.   Well, I have to say I've never been a

     prosecutor, but I think it's a very impressive list of some of our

     Nation's most illustrative prosecutors who have engaged in lengthy

     careers.   And I think -- I take what they say very seriously.   I think

     it is very important for this committee to go further and examine the

     allegations that were laid out in the Mueller report.

           Ms. Jackson Lee.   Thank you.

           And I ask the chairwoman to ask unanimous consent to place the

     statement by former Federal prosecutors, part of what I just read, 1,025

     indicate that the President would be subject to felony charges if he

     was not the President of the United States.

           Let me also make mention --

           Ms. Scanlon.   Without objection.

           [The information follows:]



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           Ms. Jackson Lee.   Thank you very much -- of H. Res. 396,

     Resolution of Investigation, Professor Gerhardt -- and welcome to all

     of you, by the way, thank you so very much for your presence.         It

     recounts -- it's under our rules 6 and 7 of House practices -- it is

     an instruction for the Judiciary Committee to investigate.       But

     included in the resolution, it indicates various elements of

     investigation, violation of the Foreign Emoluments Clause of the United

     States Constitution, violation of the Domestic Emoluments Clause of

     the United States Constitution, obstruction of justice, abuse of power,

     misfeasance in public office, malfeasance in public office, failure

     to protect the confidentiality of national secrets from enemies,

     foreign and domestic -- just a litany similar almost to one -- Articles

     of Impeachment.

           But let me ask you this.   In your written testimony, you note that

     the theme that clearly emerges from early discussions of the scope of

     impeachable offenses are that they are not neatly delineated but depend

     on context and gravity, of which the responsibility of this is housed

     in the Judiciary Committee, and not all crimes are impeachable and not

     all impeachable offenses are crimes.

           But I would ask you, is impeachment limited to criminal acts?

           Mr. Gerhardt.   Not at all, Congresswoman.     In fact, it's

     important to understand that one of the most -- that a significant theme

     in the Constitutional Convention was that when the delegates thought

     of possible impeachable offenses, they were trying to figure out the
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     scope of them.   They never listed something that wasn't actually a

     crime; they listed things that were not crimes.      And, in fact, many

     impeachments have been based on things that are not crimes.

           Ms. Jackson Lee.   I'm going to go on to another -- can a President

     be impeached for conduct related to improper exercise of his Article

     II powers, such as removing a subordinate Federal officer?       And let

     me add, would all communications between the President and, say, the

     Department of Justice always be protected, always be not subject to

     review or suggesting that they were inappropriate?

           Mr. Gerhardt.   I think it's an overreach to suggest the President

     somehow can insulate all his communications with anybody from

     congressional inquiry.    That essentially makes the Presidency

     unaccountable.

           Ms. Jackson Lee.    And so can he be impeached for the improper

     exercise of Article II?

           Mr. Gerhardt.   Absolutely.

           Ms. Jackson Lee.    And can the President be impeached at least

     partly on his conduct or her conduct before assuming office?

           Mr. Gerhardt.   I believe if -- I've suggested both through my

     statement and other writings that I think a Presidency could be subject

     to impeachment for that.

           Ms. Jackson Lee.   And, clearly, the Mueller report, in Volume I,

     has talked about a number of incidences dealing with the Russian

     intrusion into our elections that seemingly this administration and

     the Office of the President was involved in.
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           Mr. Gerhardt.    At the very least, this committee is entitled to

     look into things.     So you have got the Mueller report.   The Mueller

     report obviously contains a lot of different things, such as possible

     acts of obstruction of justice.   It's quite reasonable and legitimate

     for a committee -- for this particular committee to look at that and

     to ask whether or not more investigation is needed.

           There is nothing in the Constitution that precludes the

     committee.   In fact, there's a lot in the Constitution that supports

     this committee looking at that material and deciding whether or not

     it does provide evidence of misconduct or whether or not it needs more

     evidence.

           Ms. Jackson Lee.    I thank the chairwoman.    I yield back.
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     RPTR WARREN

     EDTR ZAMORA

     [10:16 a.m.]

           Ms. Scanlon.   Okay.   Thank you.

           The chair recognizes the gentleman from California.

           Mr. McClintock.    I thank you, Madam Chairman.

           Dr. Eastman, the more that comes out on the Mueller report, the

     more I become concerned that it appears to me that they couldn't make

     a legal case against the President.       So they decided instead to try

     to make a political case, and they did so by seriously misrepresenting

     the evidence that they had.    Give you a few examples.

           The John Dowd conversation, the President's lawyer, calls

     Robert Kelner, Michael Flynn's lawyer.     The Mueller report quotes only

     a small portion of the conversation that leaves the impression that

     Dowd's trying to influence testimony.      It deliberately omitted a very

     large part of the conversation where Dowd made it absolutely crystal

     clear that it was not what he was suggesting.

           Another example.   Konstantin Kilimnik is repeatedly referenced

     as a Russian Government operative in his interactions with

     Paul Manafort.   What Mueller knew but failed to mention in his report

     was that Kilimnik was, in fact, a U.S. intelligence asset.

           There was an article just published in The Federalist.     It notes

     the recent developments in the Concord case that involves the Internet

     Research Agency, the internet troll farm at the center of the Russian
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     Government interference narrative.     The judge in that case asked

     prosecutors to address also the specific tie to the Russian Government,

     and the DOJ responded the report doesn't say that.     It was that next

     day that Mueller held his press conference where he walked back the

     linkage that he had made between the Russian Government and the internet

     troll farms.

           So I have to tell you, having reviewed some of the material behind

     the report, I'm concerned this report seriously misrepresents the

     supporting evidence that it's supposed to be based upon.    So I'd like

     to hear your opinion of the nature of the report itself and what does

     it say of the integrity of the report if exculpatory evidence was

     deliberately omitted from that report.

           Mr. Eastman.   Congressman McClintock, we've seen a number of

     stories about the political biases of the members of Mr. Mueller's team

     that have, you know, occupied our Nation's attention for some time now,

     and I think one of the allegations that the President attempted to

     obstruct judges was his alleged direction to White House Counsel Don

     McGahn to notify Deputy Attorney General Rod Rosenstein to fire Mueller

     because of his alleged conflict of interest.     And I think this is

     critical and I think it may well full explain why we don't have in that

     report some of the triggering events that led to the report that any

     competent investigation would have explored.

           And Department of Justice guidelines specifically say that people

     ought not to be leading an investigation when they have

     personal -- close, personal relationships with targets or key
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     witnesses of the investigation or with an organization of the

     investigation, and Mr. Mueller had both.    He had very close, personal

     relationships with FBI Director Comey who, of course, whose own leak

     of information to The New York Times is what triggered the appointment

     of Mr. Mueller in the first place and who was a key witness in one of

     the allegations against the President about, you know, can you see your

     way to letting the case drop against Mr. Flynn?     He suffered enough.

     He had a close relationship with Mr. Rosenstein who was a signer on

     one of the FISA warrants that triggered the whole Russia collusion story

     in the first place.

           Those things alone ought to have forced Mr. Mueller to recuse

     himself because they are conflicts of interest that would have not led

     to his appointment under Department of Justice guidelines in the first

     place.   For the President as the top national executive to raise the

     question about those conflicts is not obstruction of justice; it's

     doing his job.   If he had said, because of that conflict, we're going

     to shut down the whole investigation because I don't like it going after

     me, then you might have had obstruction of justice, but that's not what

     we have here.

           And the perpetuation of this myth is rising to the level of farce,

     and it is distracting, not only the President and the country

     domestically, but on the world stage.   In fact, we are perilously close

     to the ongoing proceedings here rising to this very same level that

     is why the Department of Justice has over a half a century twice

     concluded the President ought not to be indicted while he's in office.
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     They recognize that the impeachment proceeding is a necessary evil that

     would suffer those consequences but on things that are much more grave

     than we have at issue here.

           Mr. McClintock.    Is it fair to say that this report was corrupted

     both by personal relationships and by political biases?

           Mr. Eastman.    When you see the things that are omitted from it,

     that's the conclusion that one has to go.

           Mr. McClintock.    And this is, so far, just the tip of the iceberg.

     They're dribbling out all the time and of grave concern.

           Mr. Eastman.    And I think when Mr. Horowitz' full IG report comes

     out on the origins of this thing, I think we're going to be shocked

     to learn how much more there is.

           Mr. McClintock.    Thank you.

           Ms. Scanlon.    The chair recognizes the gentleman from Tennessee

     for 5 minutes.

           Mr. Cohen.     Thank you, Madam Chair.

           Firstly, I'd just like to comment the question about exculpatory

     evidence being put in and questioning Mr. Mueller's compliance.

     Mr. Mueller made clear that he did not suggest the President should

     be indicted or was indicted because of the OLC's opinion that he

     couldn't be indicted.     That's pretty much dealing -- taking

     exculpatory evidence when you put that in.      We're not indicting him

     because we can't do it, not because we didn't find evidence of criminal

     activity; and if we did, we would have said so.       So that's firstly.

           And, secondly, the question about his closeness to Mr. Rosenstein
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     and Mr. Comey.   He was also close to Mr. Barr.     So maybe Mr. Barr

     shouldn't have taken the job.

           Although existing regulations governing the appointment and

     removal of a special counsel already provides some limitations on the

     removal of the Attorney General, those can be rescinded or modified

     because they're the Attorney General's regulations.     They can modify

     those protections against unwarranted removal.

           The chair has introduced a bill, H.R. 197, that's called the

     Special Counsel Independence and Integrity Act, which would codify

     those protections and would permit the special counsel who believes

     his or her removal was unlawful to contest that removal in court.

           Ms. Fredrickson, what are the benefits of enacting the current

     protections that the Department has for unwarranted removal of a

     special counsel and make them statutory law?

           Ms. Fredrickson.   Thank you so much for the question.     So, I

     mean, I think there are a number of benefits, and one is it's clear

     that the Attorney General could repeal the existing regulations, and

     there was quite a bit of worry that that might happen.      I know -- I

     believe Senator Graham on the Senate side has introduced a partner to

     this legislation for the very same reasons, that the regulations lay

     out some important protections for the independence of the special

     counsel but they're not enough because they're not actually insulated

     from action by an Attorney General who might himself want to see, or

     herself, want to see an investigation curtailed.     So I think it's an

     important piece of legislation to consider.
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           I did also just want to go back to the prior question regarding

     the factual disputes and the accusation that Special Counsel Mueller

     was biased and omitted important information.     You know, I don't want

     to speak to that, but I do want to say it seems to me that that's actually

     an extremely strong reason, if people believe that, to want to get as

     much of this information into the public hands as possible but certainly

     into for this committee to review.

           Mr. Cohen.   I'm sure we'll do that.

           How would providing a special counsel a private right of action

     to contest his or her unlawful removal deter some of the conduct

     described in the Mueller report?

           Ms. Fredrickson.   Well, I mean, I think that, you know, to have

     some kind of a legal recourse to ensure that a special counsel isn't

     removed for less than good cause, I think, is an important mechanism

     to protect that authority and to protect the integrity of an

     investigation that might be necessary.

           Mr. Cohen.   And then maybe some of the instances that were cited

     in the report that might amount to obstruction of justice wouldn't have

     occurred because they would have known that they could -- Mr. Mueller

     could have gone to court to contest those in an open hearing.

           Ms. Fredrickson.   Absolutely.    And I think Mr. Mueller laid out

     numerous examples of where he was thwarted along the way and was

     threatened that if he had had some additional legal recourse --

           Mr. Cohen.   And let me ask.     We're going to run out of time.

     You've read the Mueller report, have you not?
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           Ms. Fredrickson.   Yes.

           Mr. Cohen.   All right.     How many instances of obstruction of

     justice do you believe were shown where all three elements of

     obstruction of justice were met?

           Ms. Fredrickson.   Well, I think the report itself describes it

     in extremely good detail, but there are certainly several examples

     dealing with the efforts to get the White House Counsel to fire

     Mr. Mueller.

           Mr. Cohen.   That's one.    And then telling Mr. McGahn to lie about

     it?

           Ms. Fredrickson.   Telling him to lie about it and to tell him to

     create a fake paper trail.       I think all of those are --

           Mr. Cohen.   What are some others?

           Ms. Fredrickson.   The effort -- the removal of the FBI Director.

     There are --

           Mr. Cohen.   Asking Mr. Sessions to unrecuse himself?

           Ms. Fredrickson.   Exactly.     Or asking Corey Lewandowski to go to

     the Attorney General to tell him to resign, holding the resignation

     letter for future use.

           Mr. Cohen.   So you don't have a specific number.   That's at least

     four or five.   Do you think there are seven or eight or four or five

     or 10, or how many do you think there are?

           Ms. Fredrickson.   Well, you know, I think that is something for

     this committee to consider is --

           Mr. Cohen.   Thank you.
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           Professor Gerhardt, do you have an opinion on how many there are?

           Mr. Gerhardt.    I'm sorry.   I missed part of the --

           Mr. Cohen.   How many cases of obstruction of justice were in the

     Mueller report that you think all elements were met?

           Mr. Gerhardt.    While I've read it, I can't say off the top of my

     head how many instances there are, but I do think it's important to

     recognize that there is certainly evidence of possible obstruction in

     there.   There's no question about that.

           The report doesn't exonerate the President.     Instead, it

     actually suggests at several moments that one of the processes that's

     important to consider, given the limitations the prosecutor felt that

     were imposed on him, was for Congress or this committee to look into

     possible evidence of misconduct.      That's perfectly within the power

     and legitimacy of this committee.

           Mr. Cohen.     Thank you.

           And I yield back the time I do not have.

           Ms. Scanlon.    Thank you.

           The chair recognizes the gentleman from Texas for 5 minutes.

           Mr. Gohmert.    Thank you.    I appreciate y'all being here.

           Dr. Eastman, in looking at page 2 -- well, it's page 2 because

     you had a cover sheet, but talks about you're not -- you

     implied -- you're talking about the title of this hearing, that the

     Mueller report identified Presidential misconduct that would trigger

     whatever constitutional process might have been available.       As a

     factual matter, I could not disagree more.      I don't find anything
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     remotely rising to the level that would trigger the one constitutional

     path designed to address Presidential misconduct, namely impeachment.

           But I want to take you back to the prior administration, something

     that was called Fast and Furious.   We know crimes were committed.   We

     had people within our Justice Department who forced people to sell guns

     that we knew the sales constituted a crime because we knew they were

     going to end up in criminal hands, and they were required to do it and

     we know at least one Federal agent was killed as a result.      Somebody

     somewhere in the Justice Department had to say, we're not going

     to -- we're not going to prosecute that.     We're not going to

     investigate it.   We know what happened.    And, of course, some of us

     here that reviewed e-mails that were disclosed, made public thanks to

     Judicial Watch, there were crimes being committed and nobody

     prosecuted.

           During the Clinton administration, my U.S. Attorney friends back

     in Texas were telling me they'd been given -- and I couldn't tell you,

     some of them -- I couldn't tell you whether they vote Democrat or

     Republican, but I know they cared about justice.   But they were saying

     they'd been directed, let's back off of the pursuit of drug crimes.

     Let's start pursuing white-collar crime.     They got that directive.

           Somebody within the Department of Justice who knew there were

     crimes, drug crimes being committed with regard to Fast and Furious,

     knew crimes were committed and at least one Federal agent died, had

     directed, we're not going to pursue those.     Just leave them alone.

     This is where we want to concentrate, because obviously, no Department
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     of Justice can pursue every single crime.

            In your opinion, just knowing what we know from the public

     information, would you say Eric Holder or President Obama, his boss,

     obstructed justice?

            Mr. Eastman.   Congressman, I think there's an important

     distinction to be made here --

            Mr. Gohmert.   Exactly.

            Mr. Eastman.   -- between prosecutorial discretion and shielding

     high-ranking officials.    I've outlined in my testimony several other

     examples --

            Mr. Gohmert.   But the drug -- shifting from drug prosecution to

     white-collar crime, that's prosecutorial discretion.

            Mr. Eastman.   That's right.   But preventing an investigation in

     order to shield the person that committed the crime because he was a

     high-ranking official or to alter the FBI investigative report on the

     advent of the email personal server and Hillary Clinton's conduct, to

     remove the language of one of the elements of the crime, I think that

     rises to obstruction of justice rather than prosecutorial discretion.

            Mr. Gohmert.   So you're talking about when James Comey

     eliminated the mental state necessary --

            Mr. Eastman.   The -- he said mental state was an element; it was

     not.   The FBI original draft of the report called it gross negligence,

     which is an element of the crime.     He changed that language in order

     to avoid the element of the crime.      That's not prosecutorial

     discretion.   I think those things do rise and have an intent to obstruct
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     or interfere with the investigation.

            Mr. Gohmert.   Well, that brings up another issue.       You know,

     Mueller was required to -- or we know -- I'm not supposed to really

     get into the scopes memos I've reviewed, but -- well, at least some

     of them.    But we know publicly he was allowed to pursue things

     that -- crimes that came to his attention during the investigation.

            Hillary Clinton's emails, private server, disclosure of

     classified information, those surely came to his attention.       He would

     have been authorized, just from what you know publicly, to pursue and

     investigate Hillary Clinton, would he not?

            Mr. Eastman.   Well, he would.   And even more directly, the use

     of campaign funds funneled through a law firm illegally, not reported

     to the Federal Election Commission, to pay for the Steele dossier, which

     we now know had as his sources high Russian-level officials that

     triggered the entire narrative, that certainly was within his

     jurisdiction, and that's not investigated at all.

            Mr. Gohmert.   Yes.   Well, I appreciate the effort that you took.

            I know all three of you got paid well for being here today.

            Mr. Eastman.   I missed that.

            Mr. Gohmert.   And for those that don't know that, didn't get paid

     at all.    But thank you all for the time you took to prepare.        Thank

     you.

            Ms. Scanlon.   The chair recognizes Mr. Johnson from Georgia --

            Mr. Johnson of Georgia.    I thank the chairwoman.

            Ms. Scanlon.   -- for 5 minutes.
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           Mr. Johnson of Georgia.   And I've heard more and more Republicans

     starting to pronounce Director Mueller's name as Mueller.       I've been

     hearing that over the past few weeks.   Is that some kind of Republican

     attempt to somehow besmirch Director Mueller?        Dr. Eastman?

           Mr. Eastman.    No.   Maybe it's bit of my German heritage.      My

     mother's maiden name was Stein, and the Mueller is the German

     pronunciation.

           Mr. Johnson of Georgia.     It's Mueller, and I've heard so many

     people saying Mueller on the other side.    It just seems like there's

     something that -- there's some kind of secret memo flowing out there.

           But, listen, you are a -- an officer.       You are the chairman of

     The Federalist Society's Federalism & Separation of Powers Practice

     Group, are you not?

           Mr. Eastman.    I am, Congressman.

           Mr. Johnson of Georgia.    And so there's no doubt that you are a

     Republican or perhaps a Libertarian, but I suspect more Republican.

           Mr. Eastman.    The Federalist Society is a nonpartisan

     organization.

           Mr. Johnson of Georgia.    And it raises about $20 million a year

     for its various purposes, correct?

           Mr. Eastman.    I've not looked into the budget of the Federal

     Society.   I'm a chairman of one of its practice groups.

           Mr. Johnson of Georgia.     I understand.

           Mr. Eastman.    And I should say that I'm not here speaking on

     behalf of The Federalist Society.
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            Mr. Johnson of Georgia.   Certainly.    Certainly.

            And you're familiar with Director Mueller and his reputation.

     You know that he is a former Marine officer, that he has practiced law

     both in government, outside of government, former U.S. attorney,

     United States Assistant Attorney General for the Criminal Division,

     a homicide prosecutor in Washington, D.C.     He's been the Acting United

     States Deputy Attorney General and he's been appointed to

     Senate-confirmed positions by Presidents George Herbert Walker Bush,

     Bill Clinton, George W. Bush, and Barack Obama.     And he's a Republican

     too.

            You're familiar with that, right?

            Mr. Eastman.   I know he's got a long resume.    I didn't know he

     was a Republican.

            Mr. Johnson of Georgia.   You didn't know he was a registered

     Republican?

            Mr. Eastman.   It doesn't matter on my criticism of the report.

            Mr. Johnson of Georgia.   Well, I mean, a man of that kind of

     distinction, you do -- you may disagree with some of the conclusions

     that he reached, but you have no -- you have no problem with his

     truthfulness and veracity, do you?

            Mr. Eastman.   Congressman, I have a real problem with his

     flipping the burden of proof in Part II of the volume.

            Mr. Johnson of Georgia.   That's not my question.    My question,

     you believe him to be a man of good character?

            Mr. Eastman.   I don't know his character.    I've never met the
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     man.   I will say this --

            Mr. Johnson of Georgia.     Let me ask --

            Mr. Eastman.   -- he staffed his office with people --

            Mr. Johnson of Georgia.     Let me ask this.

            Mr. Eastman.   -- who had an obvious political bias, and that's

     troubling to me.

            Mr. Johnson of Georgia.     Let me ask you this.    You're at a

     congressional hearing, the title of the hearing being about the various

     constitutional processes for addressing Presidential misconduct.

            Now, certainly this hearing that we're having today, you don't

     think we're overstepping our bounds by having this hearing, do you?

            Mr. Eastman.   I do.   I have never said that Congress doesn't have

     oversight authority.

            Mr. Johnson of Georgia.     But, I mean --

            Mr. Eastman.   But it can be abused, and I think --

            Mr. Johnson of Georgia.    For this hearing, you think that we're

     overstepping?

            Mr. Eastman.   I do.   This matter has become a farce.

            Mr. Johnson of Georgia.     Well, question --

            Mr. Eastman.   It has become a farce.

            Mr. Johnson of Georgia.     Question asked and answered.     Okay.

     Thank you.

            Let me ask Professor Gerhardt.    Sir, in your written testimony,

     you note that the theme that clearly emerges from early discussions

     of the scope of impeachable offenses are that they are not neatly
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     delineated but depend on context and gravity, and that you say also

     that not all crimes are impeachable and not all impeachable offenses

     are crimes.

           I want to ask you this question:    Is impeachment limited only to

     criminal acts?

           Mr. Gerhardt.    Not at all.    If you'll allow me, I just want to

     make sort of two points to clarify a couple of things.      The first is

     I've not been paid at all.      I've got three kids, one in college.   It

     would be great, you know, but --

           Mr. Johnson of Georgia.    You're not being paid either to be here,

     right?

           Mr. Gerhardt.    I'm not being paid to come here.    I'm not being

     paid to be here.     It's an honor.

           The second point I just want to make is that kind of follows a

     little bit from what you've just suggested is a concern I have, and

     that is if the President -- and I think that concern has been sort of

     overshadowed by the efforts to deflect the attention away from the

     purpose of this hearing.

           But if the President of the United States can remove the special

     prosecutor, not comply with lawful subpoenas, and is immune to criminal

     prosecution while he's in office, that's the definition of being above

     the law.

           Mr. Johnson of Georgia.      Thank you.

           And I yield back.

           Ms. Scanlon.    And the chair recognizes the gentleman from
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     Virginia for 5 minutes.

             Mr. Cline.   Thank you, Madam Chair.

             And I want to thank our witnesses for taking the time out of their

     schedules, without pay, to be here today to participate in this

     exercise.    I want to also apologize to them because this is little more

     than an attempt, a blatant attempt to keep on life support this ongoing

     impeachment by any other name.     And as you can see from the audience,

     which is half full and the committee which is half full, I'm -- there

     are other things going on on the Hill today that are of importance as

     well.    There's a hearing about the border that is down the hall.      I

     think that is a critical issue about the humanitarian crisis going on

     at the border.    I would like to see this committee use its jurisdiction

     to look into the humanitarian crisis that's going on at the border.

             I see the TV cameras here, and I want to apologize to people at

     home who've tuned in and think they're looking at a repeat of a past

     hearing because, no, it's not a repeat.      It's just the same pundits,

     journalists, and academics here opining about Volume I or Volume II

     of the Mueller report, not moving the ball forward at all, just really

     spinning the wheels of this committee, using up time and using up

     resources to come to no conclusion, other than the fact that the

     Democrats want to impeach this President but they don't have really

     enough to go on in the Mueller report.    And there are other issues that

     are of primary importance facing this country that are being addressed

     by other committees around this Congress.

             And as a member of this committee, I worked hard to get on this
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     committee.   It is very disappointing to me that we continue just to

     spin the wheels of this committee.

           So, Professor Eastman, I will ask you, as a former prosecutor,

     I was very confused by Volume II and the Mueller report, 400 pages of

     no charges, no recommendations for charges.     Robert Mueller

     determined he could not exonerate President Trump of the allegations

     that he obstructed justice.

           I've never seen this as a prosecutor.     Have you ever seen a

     prosecutor use that line of logic?

           Mr. Eastman.   No, I haven't.   And that's my fundamental

     disagreement with Part II.    It reassigns the burden of proof to the

     object of the investigation having to prove his innocence, rather than

     the prosecutor having to demonstrate guilt beyond a reasonable doubt.

     And that violates one of our most fundamental precepts of fairness and

     justice in the criminal justice system, the presumption of innocence.

           For him to have said that the President couldn't convince me he

     didn't do any of this, when his job was to determine whether he had

     enough information to bring an indictment or to present to this body

     things that would lead to either an impeachment or a post

     President-in-office indictment, that's what his job was.    And I think

     that is the greatest flaw in Volume II of the Mueller report.

           Mr. Cline.   So in our systems, prosecutors either indict or not

     indict, and leave it at that.

           So Mueller here is putting the burden on the President to prove

     his innocence instead of the burden being on Mueller to prove his guilt.
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           Professor Eastman, can a President obstruct justice by simply

     exercising his Article II powers?

           Mr. Eastman.    That's a close question.   The reason it's close and

     the reason I'm hesitating and not giving you an unqualified no is if

     the President exercised his powers with a deliberate intent to

     prevent -- but we have no evidence of his intent here at all.          What

     we do have is documented in the report itself, things like, can you

     clear the way to let Flynn go because he suffered enough.        That's

     perfectly within the President's authority, and there's no even hint

     of bad intent there.     Can you get rid of Mueller because of his

     conflicts of interest?     No bad intent; that's clearly within the

     President's authority.

           Mr. Cline.     When Bill Clinton tried to alter witness testimony

     before a grand jury, that --

           Mr. Eastman.     That had the necessary intent and was rightly

     troubling.   Deliberately changing an FBI report to remove an element

     of a crime of trafficking into classified information in order to shield

     the Presidential candidate I prefer, that's an obstruction of justice

     with the requisite intent.

           Mr. Cline.     Section 4 of Article II says the President, Vice

     President, and all civil officers of the United States shall be removed

     from office on impeachment for and conviction of treason, bribery, or

     other high crimes and misdemeanors.

           Do you see anything in Volume II that rises to that level?

           Mr. Eastman.    I do not, because I don't see anything in there that
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     demonstrates a requisite intent that would otherwise alter the

     President's perfect authority to control the executive branch.

           Mr. Cline.     Thank you.

           I yield back.

           Ms. Scanlon.    The chair recognizes the gentleman from Florida for

     5 minutes.

           Mr. Deutch.     Thank you, Madam Chairman.

           Thanks to all the witnesses for being here.

           Mr. Gerhardt, your testimony describes several categories of

     formal remedies for Presidential misconduct:      congressional oversight

     activities, impeachment, censure, election, civil suits, criminal

     trials.

           Was Special Counsel Mueller able to pursue any of these remedies

     for potential misconduct by President Trump?

           Mr. Gerhardt.     No, he was not.   He was not in the sense of being

     able to do anything more than issue his report.

           Mr. Deutch.     His investigation, just to be clear, was a criminal

     investigation, right?

           Mr. Gerhardt.     Right.    It certainly was, yes.

           Mr. Deutch.     And if he found criminal wrongdoing by the

     President, could he pursue a trial?

           Mr. Gerhardt.    He could, or he might have thought he might be able

     to, but he was also -- he also plainly felt, as he said, that he was

     restricted by Department of Justice policy on this.

           Mr. Deutch.     Well, he said he was restricted by the OLC policy,
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     didn't he?

           Mr. Gerhardt.     Right.    That's what I'm saying, yeah.

           Mr. Deutch.     Right.    So Presidential misconduct uncovered by

     Mueller didn't come with an inherent remedy, did it?

           Mr. Gerhardt.     No, it did not come with an inherent remedy.

           Mr. Deutch.     So the Mueller report itself, the Mueller report

     itself was never going to hold the President of the United States

     accountable?

           Mr. Gerhardt.    That is absolutely true.       And, in fact, a couple

     of times, a couple of key times when discussing obstruction of justice,

     he mentions Congress.

           Mr. Deutch.   Right.      So if -- exactly.   So, Mr. Gerhardt, if the

     special counsel cannot hold the President accountable, who can?

           Mr. Gerhardt.     The answer is nobody.

           Mr. Deutch.     Nobody can hold the President accountable?

           Mr. Gerhardt.    Well, that is to say if the President -- I may have

     misunderstood.

           Mr. Deutch.     Mr. Gerhardt, Congress can hold the President

     accountable, can't it?

           Mr. Gerhardt.     Of course.    And I just --

           Mr. Deutch.     Right.     I just wanted to clarify that.

           Mr. Gerhardt.     Yeah.

           Mr. Deutch.     Ms. Fredrickson, in your testimony, you note that

     special counsel couldn't exonerate President Trump, but he also

     couldn't proceed with a criminal remedy because he accepted the OLC
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     policy that a sitting President cannot be indicted.

           Without those options, what did Mr. Mueller do in his report?

           Ms. Fredrickson.   Well, I think he did the appropriate thing,

     which was to refer to Congress to pursue its constitutional processes,

     which is, in fact, what this committee is doing now.

           Mr. Deutch.   Right.   So you -- he conducted the investigation.

     He preserved evidence.    He provided analysis of that.    And then, as

     you quote from the report and as you've just said now, the separation

     of powers doctrine authorizes Congress to protect official proceedings

     including, those of courts and grand juries, from corrupt, obstructive

     acts, regardless of their source.    Further, Special Counsel Mueller

     closes Volume II by stating, and I quote, the protection of the criminal

     justice system from corrupt acts by any person, including the

     President, accords with the fundamental principle of our government

     that no person in this country is so high that he is above the law.

           Ms. Fredrickson, do you read these sections of the report as a

     referral to Congress to pick up where Mr. Mueller left off?

           Ms. Fredrickson.   Well, I certainly read it as a -- as saying to

     Congress that there is important -- this was -- these allegations are

     incredibly disturbing, indicate actions by the President and his

     associates that are very destructive to rule of law and that Congress

     needs to examine.   I think it has a congressional duty to --

           Mr. Deutch.   Thank you very much.

           Mr. Gerhardt, on May 30, President Trump said he can't be

     impeached because there was no crime.    It appeared he was suggesting
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     that he would need to be found guilty in a criminal trial in order to

     be impeached.

             Is that how impeachment works?       Is that what impeachment

     requires?

             Mr. Gerhardt.    Impeachment --

             Mr. Deutch.     Yes or no.

             Mr. Gerhardt.    Impeachment does not require what the President

     said.

             Mr. Deutch.   Right.     And you described, in fact, how the Framers

     thought of high crimes as violations of public trust and violations

     of a duty to our society.        Some have argued the President can't commit

     the crime of obstruction of justice when he's exercising his Article II

     powers.    We've heard that here today.

             Regardless of the merits of that argument in a criminal trial,

     isn't the corrupt use of power exactly the sort of abuse that the Framers

     and historical Presidents show qualified as a high crime?

             Mr. Gerhardt.    Absolutely.     That's why we have it.

             Mr. Deutch.     Right.    So let me finish with this.

             Professor Gerhardt, we heard that impeachment proceedings have

     begun without any formal vote for impeachment.         Who has the power to

     set the proceedings for this body, for Congress to implement a

     constitutional power such as impeachment?

             Mr. Gerhardt.    Congress.

             Mr. Deutch.     Right.    And do the House rules require a formal

     authorization of an impeachment inquiry?
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           Mr. Gerhardt.    Absolutely not.   It doesn't say that in any place.

           Mr. Deutch.     Professor Gerhardt, does the United States

     Constitution require a formal authorization of an impeachment inquiry?

           Mr. Gerhardt.    Absolutely not.   The words "impeachment inquiry"

     are not in the Constitution.

           Mr. Deutch.     Thank you.

           I yield back.

           Ms. Scanlon.    Thank you.

           The chair recognizes the gentleman from Louisiana for 5 minutes.

           Mr. Johnson of Louisiana.     Thank you, Madam Chair.

           Thank you to the witnesses for being here.

           Mr. Gerhardt, over here on your right.     Yeah, sorry.   We've got

     a big committee.

           You said in a recent interview with The New Yorker magazine that,

     quote, if the President has misled people, unquote, then it could be

     the basis for impeachment.

           President Obama made a statement that became rather famous

     regarding ObamaCare, and he said, quote, if you like your healthcare

     plan, you can keep it, unquote.    It was famously called the lie of the

     year by PolitiFact.

           So I don't mean this to be flippant.   I want to ask you a question

     about your intellectual consistency.     Is that an impeachable offense?

           Mr. Gerhardt.    I would not say so, and it's partly because I think

     the President made a mistake.      Acting in good faith is pertinent to

     any impeachment inquiry.
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           Mr. Johnson of Louisiana.      Well, but didn't you just explain in

     your last set of answers here that a violation of the public trust is

     an impeachable offense?       I just heard you say that a few minutes ago.

           Mr. Gerhardt.    That's true.     Absolutely true.

           Mr. Johnson of Louisiana.       So is that not a violation of the

     public trust when half of America relied upon that great promise?

           Mr. Gerhardt.   I don't think I would say it violated public trust.

     I think you need two things at least.         One is you need to have -- be

     doing a bad act.    That's one of the things required.       But the other

     is you need to have bad intent.     I think there are times when Presidents

     obviously are mistaken.    I don't think that was a deliberate falsehood

     at all.    I think that an inquiry would be justified any time that this

     committee or the House has concern about whether or not the President

     had said or done something with bad faith and that was a bad act.

           Mr. Johnson of Louisiana.       Okay.    In a 1999 article that was

     entitled, The Lessons of Impeachment History, you quoted Alexander

     Hamilton in Federalist 65, and you wrote, quote, in the Federalist No.

     65, Alexander Hamilton warned that impeachments often would begin in

     a partisan atmosphere.    Consequently, Hamilton counseled the further

     along an impeachment proceeded, the more that Members of Congress

     needed to find a nonpartisan basis on which to resolve the proceedings,

     unquote.    That's what you wrote.

           Mr. Gerhardt.    Yes.

           Mr. Johnson of Louisiana.       The Mueller report, of course, has

     been out for almost 3 months.       As of June 30, there were 79 elected
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     Democrats calling for impeachment and zero Republicans.         Our friend,

     Representative Amash, is now a registered Independent.

             So the question is, if this body were to take Alexander Hamilton's

     advice, shouldn't impeachment be off the table at this point because

     there's no way that we find a nonpartisan basis to proceed?

             Mr. Gerhardt.   The answer is no.   And part of the reason for that

     is because if one party decides to obstruct something, that is to say,

     doesn't agree, can't find common ground, that can't hamstring the

     institution.

             Mr. Johnson of Louisiana.    Wait a minute.   So are you suggesting

     the Republicans are obstructing this now?

             Mr. Gerhardt.   I'm sorry if that's overstated, but the point

     is --

             Mr. Johnson of Louisiana.    It's greatly overstated.     Thank you

     for acknowledging, yes.

             Mr. Gerhardt.   But the point is that if -- it may or may not begin

     in a partisan atmosphere.      You need fact-finding.     You need

     investigation to determine the evidence and the gravity.

             Mr. Johnson of Louisiana.    That's what we had with the Mueller

     report, right?     Two years and $30 million and endless resources to do

     this.    Didn't we have that?

             Mr. Gerhardt.   Congressman, the Mueller report does not bind this

     committee.     It does not bind --

             Mr. Johnson of Louisiana.   No, but that was begun in a nonpartisan

     manner.    He was famously the objective arbiter of all this.
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            Let me move on.

            Mr. Gerhardt.   I don't think he was the supreme arbiter of this.

            Mr. Johnson of Louisiana.   All right.    Well, I mean, we've known

     your true colors now when you say we're obstructing, so I guess --

            Mr. Gerhardt.   I'm sorry for that phraseology.     But the point is

     that it can become a strategy, let's say, to be able to prevent

     bipartisanship by simply choosing not to go along if there are other

     political motivations for that.

            Mr. Johnson of Louisiana.   I got it.    I'm just saying, based upon

     your earlier scholarship, Alexander Hamilton would want this farce to

     end.   Okay.

            Ms. Fredrickson, on March 22, 2019, your group, the American

     Constitution Center, issued a press release entitled, quote, Mueller

     Report, How far up the chain did the Trump campaign's efforts to

     conspire with Russia go?     It quoted you.     And you said, quote, the

     question isn't whether members of the Trump campaign conspired with

     Russia to sway the 2016 elections.    We already know they did, unquote.

            As you may know, conspiracy to commit an offense or to defraud

     the U.S. is a Federal crime under 18 U.S. Code, Section 371.        I just

     want to know if you can remind this committee which members of the Trump

     campaign were charged and prosecuted for conspiring with Russia.

            Ms. Fredrickson.   Well, and first, I'd like to say that I think

     it's unfortunate that so many on your side of the aisle don't seem to

     want to get to the bottom of what happened in terms of the Russian

     interference in our election.
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           Mr. Johnson of Louisiana.    To the contrary.   To the contrary.

     Just answer the question.

           Ms. Fredrickson.   And that all of our intelligence agencies have

     indicated that there was sweeping attacks on our elections, that they

     were renewed in 2018 with some impact, and that there are anticipated

     attacks in 2020.

           Mr. Johnson of Louisiana.    So you disagree with the Mueller

     report's findings, Volume I?

           Ms. Fredrickson.   I think there is much more work for this

     Congress to do to understand what Russia has attempted, what they were

     successful at, and what they're planning.

           Mr. Johnson of Louisiana.    I got it, but I'm out of time.    But

     just to follow up on that.    So with all the vast resources, the

     $30 million, the endless supply of investigators, the 500 witnesses,

     everything that the Mueller report had, did, and was involved in for

     2 years, you think there's yet more for the people on this --

           Ms. Fredrickson.   I do.

           Mr. Johnson of Louisiana.    -- dais to dig into, right?

           Ms. Fredrickson.   I do.   I think there were many people who had

     destroyed evidence.   There were people who Mueller was not allowed to

     interview.   And so I do think there's -- I mean, look, I'm deeply

     worried about the integrity of our elections, and I hope Congress is

     as well.

           Mr. Johnson of Louisiana.    Well, I'm deeply worried about the

     integrity of your organization.
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           Ms. Scanlon.    The gentleman's time has expired.

           Mr. Johnson of Louisiana.     I'm out of time.   I yield back.

           Ms. Scanlon.    The chair recognizes the gentleman from Rhode

     Island for 5 minutes.

           Mr. Cicilline.    Thank you, Ms. Fredrickson, for your last

     comment.   I know there are many on this committee who share your concern

     and frustration with the obstruction from our colleagues on the other

     side of the aisle.     And I think if Alexander Hamilton, great Founder

     who my friend mentioned, were alive, they would be appalled, frankly,

     at the conduct of this committee and their unwillingness to take on

     these very serious issues.

           So I thank the chairman for convening this hearing on this very

     important question.

           The hearing is entitled, Lessons from the Mueller Report:

     "Constitutional Processes for Addressing Presidential Misconduct."

           Ms. Fredrickson, could you tell me what is the principle

     constitutional process available for addressing Presidential

     misconduct?

           Mr. Eastman.    I'm sorry.   Was that addressed to me?

           Mr. Cicilline.    No, it was addressed to Ms. Fredrickson.

           Ms. Fredrickson.    Well, I mean, there -- Article I lays out

     Congress' authorities.     And they're multiple, but certainly the

     legislative power includes oversight as an essential part of it.       But

     also in Article I is the power to impeach.      Those tools are not

     alternative.   They're --
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           Mr. Cicilline.   And is it fair to say impeachment is the principal

     process to address Presidential misconduct?

           Ms. Fredrickson.     I think it's one of the processes.      I don't

     think that -- I think there's more of a continuum.        As I mention in

     my testimony, during the Nixon -- during the Watergate hearings, there

     was actually -- almost a year went by before there was a referral to

     the full House for a vote on the articles.        So I think it's hard to

     separate, I would say.

           Mr. Cicilline.     Okay.    Professor.

           Mr. Gerhardt.    I agree.    I think that I agree with everything she

     just said.   I believe that it is completely within the discretion of

     this committee and the power of this committee to be able to, not just

     read the Mueller report, but to ask the very reasonable question whether

     we need to know anything else in order to undertake the constitutional

     responsibilities we have.

           Mr. Cicilline.     And related to that, many of our -- many of

     our -- Congress' ability to hold the President accountable rely on the

     executive branch providing Congress with information that it needs to

     legislate, to conduct oversight, or to consider remedies like

     impeachment or censure.

           Could you begin, Ms. Fredrickson, to describe generally what the

     Supreme Court has said about Congress' power to conduct investigations

     and to collect documents and testimony, including by use of subpoena,

     how the Court has described our power in that context?

           Ms. Fredrickson.    The Court has been -- has used very sweeping
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     language to describe Congress' power.      Again, it's inherent and the

     legislative power is the power to conduct oversight and investigations.

           Mr. Cicilline.    And the Court has, in fact, said the power to

     secure needed information is an attribute of the power to legislate,

     which is a core function of Congress.

           Ms. Fredrickson.    Well, exactly.   I mean, Congress would not

     know how to respond to statutory gaps if it can't examine what the

     statutory gaps are.

           Mr. Cicilline.    And the perils of Congress being unable to do its

     constitutionally required work if an executive branch decides to

     prevent witnesses from coming forward or to instruct witnesses not to

     cooperate or to not make the documents available is significant.

           Professor, would you speak a little bit about, Professor

     Gerhardt, what the consequences of that would be for Congress?    I mean,

     we have a President, for example, who's told -- said publicly that he

     is going to fight all efforts by Congress to get information, that he's

     going to tell witnesses not to come and defy subpoenas.     What are the

     implications of that?

           Mr. Gerhardt.    Well, they're not good.   I mean, the implications

     of that is, at the very least, Congress should be concerned.

     Obviously, this committee should be concerned.     And this committee is

     acting perfectly reasonably to consider what evidence -- I don't know

     if this has been put forward in the report or anywhere else.     If I may,

     can I read one sentence from the report from Mr. Mueller that just goes

     along these lines?
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           He says, with respect to the President -- with respect to whether

     the President can be found to have obstructed justice by exercising

     his powers under Article II of the Constitution, we concluded that

     Congress has authority to prohibit a President's corrupt use of his

     authority in order to protect the integrity of the administration of

     justice.

           Congress has that authority.   This committee has that authority.

           Mr. Cicilline.   So we have had a number of examples, both with

     respect to the White House Counsel Don McGahn and the former White House

     Communications Director Hope Hicks, where the White House asserted

     something called -- that they claim is absolute immunity, which is

     basically our right to prevent you from hearing anything relevant from

     these witnesses.

           Would that sort of obstruction that we're seeing in an effort to

     prevent witnesses from appearing before the committee or producing

     documents in and of itself be an appropriate basis for an article of

     impeachment against a President, if proved?

           Yes, Ms. Fredrickson.

           Ms. Fredrickson.    Well, I think if you look again at the Nixon

     impeachment, you'll see that that exact kind of obstruction formed one

     of the articles in that.

           Mr. Cicilline.     And, Professor Gerhardt.

           Mr. Gerhardt.    Clearly, the Constitution allows this body and

     this committee to consider whether or not obstruction's happened.

     It's just important to really emphasize that it doesn't have to be a
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     technical violation of a statute.    It still may be a problem if the

     President obstructs justice in any way.

           Mr. Cicilline.   Thank you.

           I yield back, Madam Chair.

           Ms. Scanlon.   The chair recognizes the gentleman from California

     for 5 minutes.

           Mr. Lieu.   Thank you, Madam Chair.

           Ms. Fredrickson, you were asked earlier a question about Russia.

     So for Special Counsel Mueller's investigation, 34 individuals were

     indicted.    Isn't that correct?

           Ms. Fredrickson.   Yes, that's correct.

           Mr. Lieu.   And at least eight have either pled guilty or been

     convicted.   Isn't that correct?

           Ms. Fredrickson.   That's correct.

           Mr. Lieu.   And the Mueller report identifies that Paul Manafort

     gave internal polling date to the Russians.      Isn't that correct?

           Ms. Fredrickson.   That's correct.

           Mr. Lieu.   And the Mueller report also shows numerous contacts

     between Russians and Trump campaign officials.     Isn't that correct?

           Ms. Fredrickson.   That's correct.

           Mr. Lieu.   And a fair reading of Volume I of the report would be

     that the Trump campaign knew about the Russian interference, welcomed

     it, embraced it, gave them internal information, and knew it was going

     to help Donald Trump win the election.      Isn't that correct?

           Ms. Fredrickson.   That is correct.
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           Mr. Lieu.   Okay.    Let's move to Volume II now which focuses on

     obstruction of justice.      In the Nixon impeachment hearings, the first

     article of impeachment, what was that on?        It was obstruction of

     justice, wasn't it?

           Ms. Fredrickson.      It was obstruction, yes.

           Mr. Lieu.   All right.     Obstruction of justice, certainly under

     the Nixon hearings, was important enough to be the very first article

     of impeachment.   So if there was obstruction of justice related to

     Donald Trump, that would also certainly qualify as important enough

     to be an article of impeachment if it was established, correct?

           Ms. Fredrickson.      It certainly could be.

           Mr. Lieu.   Okay.     Let me talk to you now, Professor Gerhardt,

     about the obstruction we're seeing from the Trump administration to

     congressional oversight investigations.        And it's not just on the

     Mueller report; it's on everything.      So we want to know, for example,

     why is the Trump administration supporting the lawsuit to eliminate

     healthcare coverage for Americans with preexisting conditions?          We

     can't get that information.     We wanted to know why did Trump officials

     lie about the census?     We couldn't get that information.   We can't even

     get witnesses simply to show up here even under subpoena.

           And the Trump administration is asserting something called

     absolute immunity.      No court has ever found that, correct?

           Mr. Gerhardt.     No court has ever found that the President has kind

     of absolute immunity you're talking about, no.

           Mr. Lieu.   Okay.    So given the assertions of this sort of fake
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     immunity, do you agree that if these witnesses don't show up, they would

     be subject, not just to the lawful subpoena, but also to any potential

     other consequences, and that they themselves would be liable for not

     showing up?

           Mr. Gerhardt.   Absolutely.    And the committee and the chair have

     the power to issue subpoenas.     Subpoenas are lawful orders.   And it's

     a question of whether or not they're complying with the law when they're

     considering whether or not to comply with the subpoena.

           Mr. Lieu.   Okay.   And then let's talk specifically again about

     obstruction of justice.      The Mueller report lays out multiple

     instances of obstruction of justice.      And then the special counsel

     goes, all right, here's three elements to establish obstruction of

     justice.   And in multiple cases, he shows that there's significant

     evidence of all three elements.      Isn't that correct?

           Mr. Gerhardt.   Right.

           Mr. Lieu.   And on the issue of intent, you can certainly infer

     intent from the very words of Donald Trump.       Isn't that right?

           Mr. Gerhardt.   Well, you can infer intent from words, from

     circumstances, from context.

           Mr. Lieu.   And when Trump fired Comey, he stated that he was

     receiving great pressure from the Russia investigation and that that

     pressure's been taken off.     That's certainly evidence of intent, isn't

     it?

           Mr. Gerhardt.   It's perfectly reasonable to wonder about what's

     going on when he says something like that, yes.
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           Mr. Lieu.   When the President goes on national TV and says he

     fired Comey because of the Russia thing, that's certainly evidence of

     intent, isn't it?

           Mr. Gerhardt.   It could be evidence of intent, absolutely.     It's

     certainly the statement of something that sounds like obstruction.

           Mr. Lieu.   When the President orders one of their senior

     officials to create a fake document, that's certainly evidence of

     intent?

           Mr. Gerhardt.   I'm sorry.   I missed that.

           Mr. Lieu.   When the President orders one of his officials to

     create a fake document, that's certainly evidence of intent, isn't it?

           Mr. Gerhardt.   Yeah, that's -- that's hugely problematic.      And,

     one, it's obstruction.    And I might also go further to say that one

     of the consequences of vesting the President with so many entitlements,

     such as absolute executive privilege, absolute immunity, means that

     if there's any delay that relates to something criminal 4 years or

     longer, what happens to the evidence?       That's a tremendous concern.

     And so that's why I have argued that I don't think the President's immune

     to the criminal process or other processes.

           Mr. Lieu.   And in the Mueller report, Special Counsel Mueller

     doesn't even put out any burden of proof.    He doesn't shift the burden.

     He simply says, because I could not indict under the DOJ policy, I'm

     not going to make that prosecutorial judgment.       Isn't that right?

           Mr. Gerhardt.   That's correct.

           Mr. Lieu.   I yield back.
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           Ms. Scanlon.     The chair recognizes Mr. Raskin for 5 minutes.

           Mr. Raskin.     Madam Chair, thank you very much.

           Professor Gerhardt, let me start with you.    Why does the Congress

     have the power to impeach the President but the President doesn't have

     the power to dissolve the Congress or to impeach individual Members?

     Why does the Congress have the power to impeach justice in the Supreme

     Court but they don't have the power to remove Members of Congress?

           Mr. Gerhardt.     Well, that's all part of checks and balances.

     And, of course, Congress has the power, in part, because Congress is

     accountable politically.

           Mr. Raskin.     Yeah.

           Mr. Gerhardt.     And the idea is clearly behind those restrictions

     and is, as you well know, the effort to actually prevent the President

     or prevent the COURT from becoming all-powerful.

           Mr. Raskin.     Do you agree with the rhetoric of coequal branches?

     Every time the President tramples another constitutional right or value

     or principle of separation of powers, one of my colleagues would get

     up and say, we're coequal branches, Mr. President.        Please pay

     attention to us.

           Do you agree with that?

           Mr. Gerhardt.     I do agree.

           Mr. Raskin.     Before you go on, let me just say I disagree with

     it, and I want to tell you why.       And I don't think it's just because

     I'm a Member of Congress now.    When I was a professor of constitutional

     law, I disagreed with it.     That's not the way I see the Constitution.
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     The Preamble starts with, We, the people, in order to form a more perfect

     union, and so on, established the Constitution.     The very next sentence

     says, All legislative powers are vested in the Congress of the United

     States.

           Then you get pages of description of what the powers of Congress

     are, and they are comprehensive.       We have the power to declare war,

     to regulate domestic commerce --

           Mr. Gerhard.     Right.

           Mr. Raskin.     -- international commerce.     We have the power to

     impeach.   We have the power to control the seat of government, post

     office, copyright, you name it.        All of it's in there.

           Then for the President, the President is the Commander in Chief

     in times of actual conflict, and his job is to take care that the laws

     are faithfully executed.

           So the reason I ask the question about impeachment is, don't we

     have the power to impeach the President because this is a representative

     democracy and Article I puts Congress first and the President works

     to implement the laws that we've adopted?

           Mr. Gerhardt.     I think what you've said makes imminent sense.

     And I don't want us to be talking past each other.

           Mr. Raskin.     Yeah.

           Mr. Gerhardt.    I think that each branch, of course, is vested with

     certain powers, and no other branch can interfere or undermine those

     powers.

           Mr. Raskin.     Right.    But I think at least it's constitutionally
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     important to note that it's Congress that has the power to impeach

     everybody else and they don't have the power to impeach the Congress --

           Mr. Gerhardt.    Absolutely right.

           Mr. Raskin.     -- because we are elected by the people.

           Mr. Gerhardt.    That's correct.

           Mr. Raskin.   I want to ask you, Ms. Fredrickson, a question about

     impeachment, about law and politics.     There's been a lot of confusion

     in the country about this.    Some people say, well, look, it's very clear

     that there were 9 or 10 episodes of Presidential obstruction of justice.

     It's very clear from everything that the special counsel wrote and from

     what he did in sending two letters of protest to the Attorney General

     for misstating and distorting the contents of the report and for -- from

     his having a press conference to come out and say the reason that we

     didn't indict the President was because of the DOJ policy that we can't

     indict the President.

           So some people are saying it's very clear there's Presidential

     obstruction of justice.      Why doesn't Congress just go ahead and

     impeach?    And then others say, well, you know, it's not just a legal

     question.    It's a political question because it's invested with

     Article I, with Congress.     It's not in the courts.    The courts don't

     have the power to do it.      Congress has to do it.

           And so Members of Congress have to take into account, with

     everything else we're doing, with the border crisis, with trying to

     lower prescription drug prices.      We've got to think about public

     opinion.    We've got to think about our districts.
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           Are those political considerations really proper and appropriate

     in terms of what Congress should think about?      Should we be trying to

     think about this just as judges or should we think about it in the

     context of everything else we're trying to do?

           Ms. Fredrickson.    I think Professor Gerhardt did an excellent job

     of explaining the language in the Constitution, what are high crimes

     and misdemeanors.    And they're not necessarily crimes.    They could be

     crimes, but they could be other types of activity that might be fully

     lawful but might have really harmed the fabric of the Nation.       And so

     it's a judgment call, and it's one that Congress has to make, among

     all of its other responsibilities.

           Mr. Raskin.    Okay.    Very good.

           Professor Gerhardt, let me come back to you.    What about the role

     of public opinion here?      Some people have said, well, only 19 percent

     of the people supported impeaching Richard Nixon before the

     impeachment hearings got started.       Forty-six percent of the people

     support impeachment today, which is extraordinary given that we haven't

     formally launched impeachment inquiry.      He's never reached 50 percent

     in the polls.     He's the only President since World War II who never

     has gotten up to 50 percent in his approval ratings.

           Some people say, take that into account.       The President has

     committed high crimes and misdemeanors.      He's a sitting duck, and we

     should take that into account.       Others say public opinion is

     irrelevant.     And lots of Republicans, the majority of the Republicans

     still oppose it.     We should take that into account instead.
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            What is the role of public opinion in this decision?

            Mr. Gerhardt.     Well, it's a great question.    I think the role of

     public opinion is something, of course, that you should take -- you're

     fully entitled to take into account.      It makes imminent sense for that

     to happen.   At the same time, there are fiduciary duties within each

     Chamber of Congress to consider how to exercise their respective

     powers, and public opinion, hopefully, will support that.          That's what

     Congress, of course, hopes for.

            But as in the Watergate situation, as you just mentioned, it took

     a year at least to be able to figure out through an investigation, with

     no help from the President, on whether or not he had committed any kind

     of misconduct.    And it's entirely possible that public opinion

     wouldn't necessarily support Congress or the House or any

     particular -- as it moves along, but the evidence might inform public

     opinion and it might turn around, just like it did with President Nixon.

            Mr. Raskin.     Finally, I have a yes-or-no question.     Does anyone

     here think that the -- that President Clinton should have been

     impeached for what I consider a low crime and misdemeanor, lying about

     sex?   Does anybody think that he -- that the House was correct in

     impeaching him?

            Mr. Eastman.    I think he was.   It was not a low crime.     It was --

            Mr. Raskin.     So yes, you believe that.

            Mr. Eastman.     It was obstruction of justice.

            Mr. Raskin.     Let me follow up with you then, Mr. Eastman.

            Ms. Scanlon.     Time's up.
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           The chair recognizes Mr. Armstrong for 5 minutes.

           Mr. Armstrong.    Thank you.

           And I think that line of questioning is interesting in a lot of

     different reasons.     One, I think that's where you get the distinction

     between political and legal, because I think lying under oath is lying

     under oath, and it's a political distinction as to whether or not it's

     a minor crime or a major crime, so -- and I think Mr. Raskin and I could

     have long esoteric debates about this issue in a different format.

           But, Professor Eastman, just I want to go to the obstruction stuff

     because we were just talking about it a little bit.    Do you think any

     of the 10 potential episodes of obstruction outlined in the Mueller

     report constitute obstruction of justice?

           Mr. Eastman.     I do not, because I don't think any of them

     demonstrate the necessary intent to obstruct.      I think they are all

     well within the President's Article II authorities.

           Mr. Armstrong.    Well, and I have two different questions about

     that, and one starts with the Article II authority.     And, I mean, so

     when you're -- I mean, the answer is any President can't be guilty of

     obstruction just for exercising their Article II authority.     I mean,

     otherwise, we'd get into this whole separation of powers, and

     there's -- I mean, we all want the President treated like everybody

     else because that makes everybody sound, I mean, like it is, but there's

     actually real sound separation of powers and policy reasons why that's

     not the case.

           So can you elaborate on that just a little bit?
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           Mr. Eastman.    I agree.   And I think the two OLC memos that I focus

     on extensively in my written testimony outline why that's the case.

     The President -- and I'll go back to something Mr. Raskin said.        The

     powers given to the Congress are enumerated.       The power given to the

     President is unenumerated.       It is the executive power, the entirety

     of it.   And the Framers of the Constitution did that deliberately

     because the system they had before that under the articles of

     confession -- confederation was not working because we did not have

     an energetic executive who could execute the law both domestically and

     deal with anything that arose on the international scene.       That's not

     a part of a legislative power; that is a core executive power.

           Mr. Armstrong.    Well, and then that goes to why that memo exists.

     I mean, without that memo in place and the President getting indicted,

     can you explain, I mean, where we end up on separation of powers and

     how that would affect, I mean, essentially governing structure of the

     United States?

           Mr. Eastman.   It would be fundamentally altered.     Any individual

     prosecutor in any State or in any Federal U.S.    Attorney's Office could

     effectively unravel the results of an election.        And to think that

     those processes themselves won't become politicized is, I think, naive

     in the extreme.    And I think that's why the OLC memos, both under the

     Nixon administration and under the Clinton administration -- I want

     to point out.     This is a bipartisan conclusion by different

     administrations by the Office of Legal Counsel.

           Mr. Armstrong.    Now, and I want to go back to now let's assume
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     the OLC memo doesn't exist.      Does your answer change on obstruction

     of justice?

           Mr. Eastman.   No.   No.   And this goes back to the earlier comment

     I made about I think the fundamental flaw in the analysis in Part II

     of the report is that it put the burden on the target of the

     investigation to prove his innocence, rather than the normal

     prosecutorial function which is to lay out a case to a grand jury -- in

     this case, the grand jury would be the House -- to lay out a case of

     why I have probable cause to bring an indictment that would lead me

     to think I could get, you know, proof beyond a reasonable doubt.

           The standard is not criminal, I agree with Professor Gerhardt on

     that, but it also rises to the level of impeachment.    And I don't think

     anything here, particularly in comparison to things we've witnessed

     recently in recent administrations, I don't think anything gets close

     to that standard.

           Mr. Armstrong.    Well, and so there's been a lot made -- and I

     practiced law in Federal court and done criminal law in my life, and

     one of the things is we all understand you can have obstruction even

     if the underlying crime doesn't exist.       There is a legal way that

     occurs, and that is actually true.     But intent becomes a huge part of

     this conversation.     It's also true that it's very rarely charged when

     you find out there's not an underlying offense, and one of the reasons

     is is illegitimate purpose and legitimate purpose.

           And under the best or worst reading of any of these 10 obstruction

     charges, can you -- I mean, can you find any one of those that doesn't
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     have a legitimate purpose?

           Mr. Eastman.   You know, I don't find any of them that don't have

     a perfectly legitimate purpose, and it's a much more plausible purpose

     than any of the other stories that are being spun out to try and prove

     that there was an illegitimate purpose.

           Mr. Armstrong.   Thank you.

           With that, I yield back.

           Ms. Scanlon.   The chair recognizes the gentlewoman from

     Washington for 5 minutes.

           Ms. Jayapal.   Thank you, Madam Chair.

           Ms. Fredrickson, let me start with you.     In his written

     testimony, Dr. Eastman argues that a sitting President is immune from

     prosecution and that, therefore, impeachment is the only

     constitutional remedy for Presidential misconduct.

           Do you agree that a President is immune from prosecution?

           Ms. Fredrickson.   No, I don't believe so.    I think, you know,

     again, just Professor Gerhardt laid out, I think rather extensively,

     the arguments with the OLC memo.    But, you know, I would say, however,

     that there is something interesting about this idea of sort of the

     structural arguments that make the President immune.    That is it's too

     cumbersome on his or her, hopefully someday, responsibilities and that,

     therefore, we just have to then find not in the text and not in the

     historical information an immunity for the President.

           If that were the case, we should be able to find inherent in that

     text as well an automatic tolling of statute of limitations for criminal
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     prosecutions.    You should really need to pass -- have to pass

     legislation to do that.    So I think there's -- it's certainly very

     disputed that the President is immune.    I think there have been many

     scholars who have contested that, and certainly those who would also

     indicate that perhaps there can't be a prosecution but there could be

     an indictment.   Would an indictment actually be that cumbersome for

     a President?

           So I think they are very important questions.    Again, I think it's

     indicative of how important it is for Congress to continue to examine

     the evidence underlying the Mueller report.
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     RPTR JOHNSON

     EDTR ZAMORA

           Ms. Jayapal.    I mean, you've sort of answered this, but let me

     ask the question anyway for anyone who might be listening that hasn't

     been following.

           Can a President violate Federal criminal law through his exercise

     of Article II powers?

           Ms. Fredrickson.    Oh, absolutely.

           Ms. Jayapal.    Okay.   So, for example, could -- could a President

     violate Federal bribery statutes if he or she were to offer a pardon

     to a witness in exchange for refusing to cooperate with a Federal

     investigator?

           Ms. Fredrickson.    Yes.

           Ms. Jayapal.    Okay.   And, Professor Gerhardt, do you agree with

     Dr. Eastman that the only constitutional remedy for Presidential

     misconduct is impeachment?       Just briefly.

           Mr. Gerhardt.    Not at all.    No, he and I respectfully disagree

     on that.   I tried to lay out in my written statement a variety of other

     processes for handling or addressing Presidential misconduct.

     Impeachment obviously is one, but there may be others, depending upon

     the severity and gravity of the offense and what else this committee

     determines through legitimate investigation.

           Ms. Jayapal.    So let me turn to another subject, and I'll stay

     with you, Professor Gerhardt.      In Nixon v. Fitzgerald, the Supreme
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     Court held that the President is entitled to absolute immunity from

     damages liability based on his official acts.    Anticipating concerns

     that that finding would leave Nixon -- it would leave the Nation without

     sufficient -- and these are quoted words -- without sufficient

     protection against misconduct by the Chief Executive, and quote, the

     Court articulated several formal and informal checks on Presidential

     misconduct in addition to the constitutional remedy of impeachment.

           And the Court described those checks as constant press scrutiny,

     vigilant oversight by Congress --

           Mr. Gerhardt.    Yes.

           Ms. Jayapal.    -- the desire to earn reelection, and the need to

     maintain prestige as an element of Presidential influence, and a

     President's traditional concern for his historical stature.

           So can you elaborate on this -- this concept of informal checks?

           Mr. Gerhardt.   I'll try to as briefly as possible.   So there are

     things that are spelled out in the Constitution that clearly are formal

     mechanisms for addressing Presidential misconduct.      The quote

     obviously sort of mentioned those.   Among them are the things you just

     mentioned as well, impeachment, public opinion among them.

     Congressional oversight's a key element of that.

           But the informal checks are things that are not done by government

     or -- or done in any kind of official way, but they nevertheless might

     constrain a President.    So they would include some of the things that

     you just mentioned.

           For example, concern about maintaining influence; you know,
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     popularity is important for a President to succeed in office.       At the

     same time, Presidents are in that unique position of thinking about

     what kind of influence or impact they'll have on the office itself or

     the Constitution over time.      And those things might constrain them as

     well.

             Ms. Jayapal.    And let's talk about press for a second.   Because

     President Trump has repeatedly referred to the press as the enemy of

     the people, but the Court in Fitzgerald named the press as a really

     important check on the Presidency.

             Mr. Gerhardt.    Yes.

             Ms. Jayapal.    So when you have a President who openly encourages

     violence against the press, praised Representative Gianforte for

     assaulting a reporter, regularly attacks judges who rule against his

     policies, and refuses to release his tax returns, what effect does that

     have?

             Mr. Gerhardt.    A terrible effect.    And that's something, of

     course, to take into account as well.         But the point you're making,

     I think, is a very sound one, that the press serves a very important

     function in this country of trying to put a spotlight on government

     and trying to actually allow for transparency in government.            And

     efforts to obstruct that -- I hope I'm using the word correctly in that

     context -- I think would be matters of great concern.

             Ms. Jayapal.    Thank you, Professor.

             I yield back.

             Ms. Scanlon.    Okay.   The chair recognizes Mrs. Lesko for
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     5 minutes.

             Mrs. Lesko.    Thank you, Madam Chairman.

             I have a question for Professor Eastman.      And it is basically,

     Professor Eastman, did the Office of Legal Counsel memo that holds a

     sitting President cannot be indicted stop Mueller from ending his

     report with a suggestion that President Trump should be indicted for

     obstruction of justice?      Was there anything preventing him from doing

     that?

             Mr. Eastman.    No, there was not.

             Mrs. Lesko.    And I think this has been asked before maybe, because

     I was in the other room in the other committee actually being a witness.

     But, you know, when I went -- have read through the Mueller report

     several times now, and what popped out to me was the thing about corrupt

     intent, that there was no underlying crime, no corrupt intent.      I don't

     know if you have anything to add on that, how it would be difficult,

     is what Mr. Mueller said, my reading, to prove corrupt intent when

     there's no underlying crime.

             Mr. Eastman.    Well, it's difficult.    I agree with Professor

     Gerhardt that it's not impossible.       But we normally look at when there

     are two explanations for inaction, one's perfectly legitimate and the

     other a stretch to get to corrupt intent.        We tend to Occam's razor,

     take the short path to say the legitimate one is probably the right

     one.

             Mrs. Lesko.    Well, good.   And, Mr. Eastman, since I wasn't here

     the whole time, is there anything that hasn't been said that you would
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     like to add for our record?

             Mr. Eastman.   I think the bottom line conclusion of both OLC

     memos that I think is absolutely correct is precisely why they came

     to the conclusion that a sitting President, while he remains President,

     cannot be indicted, that the constitutional remedy is impeachment,

     because it puts the issue into a body that is itself politically

     accountable.    And I think that is the most important piece to take away

     this.

             If the members of this committee and of this House truly believe

     that the things that Mr. Mueller has identified rise to the level of

     high crimes and misdemeanors, you would be being derelict in your duty

     not to bring impeachment charges.      So bring it on.

             I don't think there's anything in here -- and I don't think the

     American people will agree that there's anything here that rises to

     that level.

             The political accountability on that works both ways.     If you

     don't bring actions against a President who has committed high crimes

     and misdemeanors, you will be held to political account.        If you do

     pursue investigations on things that do not remotely rise to that level,

     you will also be held to political account.    That's the beauty of our

     system, and I think that's why the OLC memos reach the conclusion that

     they do.

             Mrs. Lesko.    Thank you, Mr. Eastman and the other witnesses.

             And I yield back my time.

             Ms. Scanlon.   Thank you.
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           I recognize myself for 5 minutes.

           Professor Gerhardt, you know, the purpose of these hearings are

     not just to educate Members of Congress but also the general public

     on topics they may not have had the opportunity to look at.     So I wanted

     to take a couple minutes to tap your expertise as a constitutional

     scholar and talk about what the authors of the Constitution considered

     to be impeachable offenses.

           We had a little bit of quotation of Alexander Hamilton in the

     Federalist papers earlier, but I wanted to focus on his declaration

     that impeachable offenses are, and I quote, those offenses which

     proceed from the misconduct of public men, or in other words, the abuse

     or violation of the public trust.

           Could you comment on what the Founders of our country meant to

     be impeachable offenses and any examples they discuss that might be

     relevant to our inquiry today?

           Mr. Gerhardt.   Well, I'll try, certainly.    Alexander Hamilton

     obviously gets it right; that is to say his formulation or his

     understanding of the scope of impeachable offenses is very consistent

     with what we learn from the Constitutional Convention and what we can

     infer from the structure of our Constitution.

           So the core elements or core, I guess, paradigms of impeachable

     offenses become things like abuse of power, things like a breach of

     public trust, things that seriously injure the republic.

           So those won't be limited just to technical crimes.       They'll be

     limited to the kinds of unique things that a President is able to do.
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     He has the pardon power.      But in the Constitutional Convention, it's

     mentioned that if the pardon power is used to shield somebody with whom

     the President is in criminal conspiracy with -- I'm

     paraphrasing -- that's an impeachable offense.       And I think almost

     everybody would agree that that would be an abuse of power.

           And so the terms that Mr. Hamilton used and the terms that others

     such as Justice James Wilson used in describing the scope of impeachable

     offense set up categories, if you will, set up the kinds of things that

     would have to be proved in order to constitute an impeachable offense.

           Ms. Scanlon.    Thank you.

           Turning to the history of impeachment proceedings in this

     country, and you may have touched on this a little bit already.       Given

     what you know of the facts laid out in the Mueller report, would it

     be appropriate for us to draw any parallels between the current moment

     and previous impeachment inquiries?

           Mr. Gerhardt.   Absolutely.     The most obvious is obstruction of

     justice.   There was an obstruction of justice article approved by the

     House Judiciary Committee against President Nixon.

           I will hope that that's not serious.

           Ms. Scanlon.    Happens all the time.

           Mr. Gerhardt.   Okay.    There was an impeachment article approved

     by the House against President Clinton.

           It's well settled that obstruction of justice may provide a basis

     for Presidential impeachment.      It's Presidential misconduct of the

     worst kind, invading, undermining the other branches as they try to
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     exercise their legitimate powers to try and make -- try and determine

     the President's accountability.

           Ms. Scanlon.    And we've heard a little bit of discussion about

     whether or not this particular President intended to obstruct justice.

     You have reviewed the Mueller report, right?

           Mr. Gerhardt.    I've read it, yes.

           Ms. Scanlon.    And you know that the President refused to answer

     any questions regarding the allegations of obstruction of justice,

     right?

           Mr. Gerhardt.    Right.

           Ms. Scanlon.    So we wouldn't have those words from his mouth

     unless he tweeted them.

           Mr. Gerhardt.   That's correct.   And it's important to remember,

     the Mueller report doesn't just not bind this committee or the House,

     it doesn't displace this committee or the House.      So the committee

     certainly has the authority to inquire into these things.

           Ms. Scanlon.    So I come to this proceeding with really profound

     concerns that misconduct by this President isn't limited to some

     ill-advised tweets but that his defiance of congressional subpoenas

     and the Constitution and the rule of law places our country in jeopardy.

     Call me old-fashioned, but I strongly have the opinion that the highest

     duty of the President is to serve the public and not to serve himself

     or to see how much he can get away with.

           Can you speak to, you know, what our oversight or impeachment or

     other powers have to do with, you know, reigning in an administration
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     that might be defying the rule of law?

           Mr. Gerhardt.    They have everything to do with trying to make sure

     that a President is accountable under law and pursuant to the

     Constitution.   And so I think that there -- I won't go into a long line

     of hypotheticals, but the important thing to understand is that it's

     perfectly reasonable for the committee to be able to inquire into the

     gravity of things, to look at evidence.      And if that evidence takes

     them to -- if that evidence supports approval of Articles of

     Impeachment, that's your job to consider.

           There may be a variety of different processes, and we talked about

     them, that may be appropriate for holding a President accountable for

     misconduct, and we shouldn't lose sight of all of those different

     things.   I think all those different things empower the committee to

     do what it's doing.

           Ms. Scanlon.    Thank you.

           With that, I would recognize the gentlewoman from Texas, for

     5 minutes.

           Ms. Garcia.     Thank you, Madam Chair.   And thank you to the

     witnesses for being here this morning.

           And let me just say that, for me, it's refreshing to hear some

     good dialogue about the important role of Congress and the role that

     we have in this process, not only in oversight, as has been laid out

     by Professor Gerhardt, but in continuing to look at this, and Ms.

     Fredrickson, for you to also outline that these things do take time.

           I know that the ranking member made a show of talking about the
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     show that he thinks this is and bringing out the popcorn, and if we're

     going to do an impeachment, we ought to just say it, and this is an

     impeachment want-to-be -- inquiry want-to-be.      But we've done the

     opposite and met the first day -- or the second time we met and

     immediately gone and said it's time for impeachment, here's what we're

     going to do.   Everybody would have said we rushed to judgment one day.

     So it's about striking a balance and making sure that we're thorough

     and that we look at everything.

           And one thing that has really concerned me as a lawyer and as a

     former judge -- and, Professor Gerhardt, I'll ask you the question,

     is this whole notion of the absolute immunity.     And it struck me that

     you said that no court has ever opined on that.

           Mr. Gerhardt.    Right.

           Ms. Garcia.   Is that because no President has ever exerted this

     complete absolute immunity?

           Mr. Gerhardt.    Immunity to criminal process?

           Ms. Garcia.     Yes, sir.

           Mr. Gerhardt.    Not yet.

           Ms. Garcia.   Or even from testifying.   If you recall, I was -- I,

     for one, was totally frustrated when Hope Hicks a couple of weeks ago

     came to -- to testify, and she walks in with, I forget, four or five

     lawyers, they objected to just about every question we asked.    I think

     they objected like about 155 times.    And it was anything having to do

     from the beginning of her -- the minute she walks in the White House,

     that she has absolute immunity and she can't testify about it.
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           Mr. Gerhardt.     No --

           Ms. Garcia.     And it just seemed to me to be one of the most

     ridiculous assertions of any kind of privilege.

           Mr. Gerhardt.     That would be an abuse of privilege, in my opinion.

     So privilege, executive privilege, attorney-client privilege, neither

     of these protects anyone, including the President or anybody that works

     for the President, to engage in criminal activity.

           You wouldn't have the privilege to maintain the confidentiality

     of that.    In fact, the privilege is maybe not just waived but doesn't

     apply to conversations that -- or actions that may relate to criminal

     activity.

           Ms. Garcia.     But in her case, it was more than just

     criminal -- potential criminal activity.

           Have you read the transcript?      I mean, it was even talking about

     her job.

           Mr. Gerhardt.     Right.

           Ms. Garcia.     I mean, do you think that she's at a level of position

     that is so sensitive that she couldn't just say what she did at the

     White House?

           Mr. Gerhardt.     And nobody is in that position, not even the

     President.    Executive privilege may well apply to certain

     conversations that happened, but they're fairly narrowly defined.        It

     certainly does not apply to everything the President does or the

     executive branch does.      If it did, then that -- then in the executive

     branch, the President would be immune from any kind of check and balance
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     that can be imposed by either of the other branches.

           Ms. Garcia.   And it certainly -- you know, we've also seen many

     other Trump administration officials either be ordered not to come or

     they come and they don't really respond to many of our questions.     You

     know, what does that do to this check and balance that you're referring

     to?   I mean --

           Mr. Gerhardt.    It impedes the authority.

           Ms. Garcia.     Can you explain so that the average American

     understands just why really it's important for us to have Mr. Mueller

     come here next week, for Hope Hicks to come, for Jared Kushner, and

     all of the subpoenas?     I mean, this isn't about harassment; this is

     about getting to the truth.     Because if we don't do that, what might

     happen?

           Mr. Gerhardt.    Yes.   I think it is immensely important.     As a

     constitutional law professor, my client's the Constitution.        I care

     about the Constitution.    I care about it being appropriately read and

     appropriately applied and understood.     And among the things that we

     would -- should understand about the Constitution is the fact that

     impeachment is something that happens at the end of a process.       It's

     not required at the beginning of a process.

           You need to be able to have a process, of which this committee

     clearly, legitimately has the authority to conduct, to determine what

     happened, the gravity of what happened, and whether or not Articles

     of Impeachment are appropriate or some other mechanism is appropriate

     for addressing them.
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           Ms. Garcia.     And as you said, impeachment inquiry is not in the

     Constitution, the words?

           Mr. Gerhardt.    No.     But impeachment, of course, is.   But Article

     I, Section 5, vests this committee with the -- vests this Congress the

     authority to -- to adopt rules for its internal governance.

     That's -- it's the rules that govern the process that each committee

     conducts.

           Ms. Garcia.     All right.    One final question.    If you were here

     next week with us, what question would you ask Mr. Mueller?

           Ms. Scanlon.     I'm sorry, it's time.

           Mr. Gerhardt.     Thank you.

           Ms. Scanlon.     You may finish -- did you have a quick answer?

           Ms. Garcia.     Do you have a quick answer?     She's --

           Mr. Gerhardt.     Oh, well, I can think of a lot of questions.      I

     do think it's important to clarify and make sure you probably understand

     the moments in his report when he defers to Congress and is passing

     the ball to Congress.

           Ms. Garcia.     All right.     Thank you.

           Thank you, Madam Chair.       I yield back.

           Ms. Scanlon.     Okay.    I recognize the gentlewoman from Florida

     for 5 minutes.

           Ms. Mucarsel-Powell.       Thank you, Madam Chair.

           I wanted to ask -- start by asking Mr. Gerhardt a question.

     According to the Mueller report, and among other things, President

     Trump requested then-Attorney General Jeff Sessions to reverse his
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     recusal from the special counsel investigation with an eye toward

     curtailing its scope.    Once President Trump learned that he was under

     investigation for potential obstruction of justice, President Trump

     then ordered White House Counsel Don McGahn to have Special Counsel

     Mueller removed altogether.

           So President Trump finds out of Jeff Sessions' recusal, he's

     extremely upset about this, then he asks Don McGahn to remove the

     special counsel.    Would this be considered, in your opinion,

     impeachable conduct?

           Mr. Gerhardt.    Well, it certainly raises serious concerns.    And

     I would -- I would suggest that those actions do raise legitimate

     suspicions about, not just the motivation, but about the effort to

     obstruct the investigations into obstructing inquiries that

     Mr. Mueller was authorized to conduct.

           Ms. Mucarsel-Powell.    And can you elaborate on your opinion on

     whether obstruction has also occurred after this President took office

     as we in this committee have requested for several fact witnesses to

     appear before us but they have been ordered by the President to not

     appear before us?     How would you constitute that?

           Mr. Gerhardt.     Well, that's an exercise of power that he's

     attempting.   The question is whether or not that's an abuse of power.

     To be able to direct people, not just who are currently in government,

     but who used to be in government, from speaking at all to the committee

     strikes me as a matter of great concern.     That could be an abuse of

     power, because it stymies the committee's ability to gather evidence
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     and to make determinations based on that evidence.

           Ms. Mucarsel-Powell.     And do you have a view on the Miers holding

     that there's no absolute immunity for a Presidential aide?         What is

     your view on that?

           Mr. Gerhardt.   Now, immunity from what?      I just want to clarify.

           Ms. Mucarsel-Powell.     From testifying.

           Mr. Gerhardt.   Oh, from testifying.    I think that -- this is one

     of those areas where it has to be kind of carefully circumscribed.      So

     a President obviously has some ability to protect certain things, such

     as legitimate material protected by executive privilege.       But he -- it

     doesn't extend to preventing people from doing their constitutional

     duty, I would say, to be able to comply with a subpoena and come before

     the committee and talk about things that might have crossed the line

     and might have been illegal or unconstitutional.

           Ms. Mucarsel-Powell.     Okay.   Thank you.

           A couple of more questions.      If the executive branch has taken

     this position that a sitting President can't be indicted as a matter

     of constitutional law, then Congress probably can't change it through

     a statute.

           Mr. Gerhardt.   Right.

           Ms. Mucarsel-Powell.     But we can at least ensure that the statute

     of limitations for any offense doesn't run out before the President

     leaves office.

           So this is for Ms. Fredrickson.    If the President is immune from

     prosecution while in office, do you agree that it would make sense for
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     us to pass a law tolling the statute of limitations for any offenses,

     to ensure that there will ultimately be a mode of accountability?

           Ms. Fredrickson.    Well, it certainly seems like something

     Congress should examine.      And I think Professor Eastman actually had

     said that he supports that legislation, so maybe it's a place where

     you can get strong bipartisan support.

           But I would hate to think that our Constitution insulates the

     President from -- from any kind of accountability while he's President.

     And so I think it's very important for Congress to consider how to ensure

     that the President is not above the law.

           Ms. Mucarsel-Powell.     Thank you.

           And, Mr. Gerhardt, are there any other types of legislation that

     Congress could enact that would help ensure some measure of

     accountability in situations where the Justice Department is refusing

     to bring charges against a sitting President?

           Mr. Gerhardt.   I said quite possibly.   For example, I understand

     there may be legislation under consideration about protecting special

     prosecutors, special counsels from being easily terminated.        That

     would be one obvious thing to try to do to try and protect the person

     whose job it is to consider whether or not there's any misconduct

     undertaken by the President or anybody at his direction that -- that

     is criminal or possibly impeachable.

           Ms. Mucarsel-Powell.     Thank you.

           I yield back my time.

           Ms. Scanlon.    Okay.   I just want to remind our committee members
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     that House rules and precedents require us to refrain from making

     inappropriate personal references to protected parties, including the

     President, and this includes accusations of dishonesty, criminality,

     treason, or other unethical or improper motive.

           And with that, I would recognize Mr. Jordan for 5 minutes.

           Mr. Jordan.   Thank you, Madam Chair.

           Ms. Fredrickson, what's the name of the organization that

     you -- you head up?

           Ms. Fredrickson.    The American Constitution Society.

           Mr. Jordan.   American Constitution Society.

           Before the Mueller report was made public, and actually 2 days

     before Attorney General Barr did his first letter to tell us anything

     about the report, which was March 24 of this year, 2 days prior to that,

     on March 22, 2019, you said this.   You said, the question isn't whether

     members of the Trump campaign conspired with Russia to sway the 2016

     elections.   We already know they did.

           How did you know that before the report even came out?

           Ms. Fredrickson.    We had seen multiple indictments as well as

     prosecutions and convictions of people associated with Russia.

           Mr. Jordan.   But shouldn't normally someone who's heading up the

     Constitution Society, don't you normally wait until an investigation

     is over?   Isn't -- in this great Nation, people are presumed to be

     innocent until -- till proven otherwise, and you are already making

     a finding, stating a finding as the head of the American Constitution

     Society before we even had the report by the special counsel's office.
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           Ms. Fredrickson.     There was quite a lot of evidence already in

     the record.   And I think the Mueller report then goes further to lay

     out multiple instances of contacts between Trump administration --

           Mr. Jordan.    What's interesting -- you just mentioned the

     Mueller report.     What's interesting is that same day that you said the

     question isn't whether members of the Trump campaign conspired with

     Russia to sway the elections, we already know they did -- even though

     we didn't know that because the report wasn't done -- that same day

     you wrote an op-ed -- you just mentioned the Mueller report, but you

     wrote an op-ed that same day, March 22, 2019, where you said we don't

     need to read the Mueller report.       And now you're telling us we do.

           So before the report came out, before Bill Barr said anything,

     you said we already know he's guilty and, oh, by the way, don't read

     the report.

           Ms. Fredrickson.     Sir, I --

           Mr. Jordan.    Now you're telling us we should read the report?

           Ms. Fredrickson.     The point was a rhetorical one, that there is

     already so much evidence out there that Congress needs to examine.

           Mr. Jordan.    That's not what -- I've got the headline right

     there.   We don't need to read the Mueller report.      You wrote that,

     right?

           Ms. Fredrickson.    I didn't write the title actually.   If you read

     the body of the opinion piece, you will see that it says Congress needs

     to get this report.      So --

           Mr. Jordan.    Here's what you wrote -- just -- second paragraph.
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     Mr. Mueller's report may never go public, but we don't need to peek

     at the recommendations anyway.

             So did you write that?

             Ms. Fredrickson.   I did.

             Mr. Jordan.   Okay.   So you did.    But now you're telling us we

     should read the report?

             Ms. Fredrickson.   I do, yes.     There is much more in there.

             Mr. Jordan.   Let's read the report --

             Ms. Fredrickson.   We knew a fair amount already, but now we know

     more.    And I think Congress needs to actually see the full report and

     the evidence underlying it.      And --

             Mr. Jordan.   Let's read the report.     Let's read the report.

             Ms. Fredrickson.   -- understand how Russia interfered in our

     elections.    Which, again, I will state, I think it's troubling that

     your side of the aisle doesn't seem to want to examine --

             Mr. Jordan.   I think it's troubling that the head of the American

     Constitution Society said we already know that he did something before

     the report was final.      Now you're telling us to read the report.

             I'm going to read it on page 2.     Page 2, the investigation did

     not establish that members of the Trump campaign conspired or

     coordinated with the Russian Government in its election interference

     activity.

             So now that you -- first, you said don't read the report.        Now

     you're saying read the report.      I'm reading the report, and it directly

     contradicts what you said as the head of the American Constitution
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     Society.

             And, of course, the Democrats think it's fine and appropriate to

     have the head of the American Constitution Society come in here and

     lecture us today and tell us today how we need to move towards

     impeachment.     I mean, I just -- I fail to get it.    I fail to get it.

             So what do you say about that sentence right there on page 2, that

     now that you've changed your mind and say we should read the report,

     where Bob Mueller says -- the special counsel's office says the

     investigation did not establish that members of the Trump campaign

     conspired or coordinated with the Russian Government in its election

     interference activities?

             Ms. Fredrickson.   Well, I think it's unfortunate that you

     actually haven't read the opinion piece, which does say that Congress

     needs to see the full Mueller report.     That is what the opinion piece

     says.

             Mr. Jordan.   We're talking about what you wrote, what you said,

     and what Bob Mueller said.      You said that --

             Ms. Fredrickson.   Exactly what the opinion piece says, that

     Congress needs to get the full Mueller report.

             Mr. Jordan.   I think -- Mr. Chairman, here's what's interesting.

     Here's what's interesting.      We have a witness today, who before the

     Mueller report was out, said we already know the President's guilty.

     Before Bill Barr issued his first statement on the report, says we

     already know he's guilty.     That same day that she said those things,

     she writes an op-ed piece saying don't read the Mueller report, because
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     if you do, you'll find out what she claimed is absolutely not true.

           Ms. Fredrickson.    I would actually --

           Mr. Jordan.     And she's an expert witness today.

           Ms. Fredrickson.    -- once again, would recommend that you

     actually read the piece so that you can see what it says.

           Mr. Jordan.     I read your piece.   I read the whole --

           Ms. Fredrickson.    Apparently not, because it does say that

     Congress --

           Mr. Jordan.    I did just a few minutes ago.    Because I remember

     the exchange we had a few months ago right after -- right after Bill

     Barr had sent his March 24 letter we had a little discussion about this

     same type -- I can't believe the Democrats invited you back.

           I yield back.

           Ms. Fredrickson.    As I said, it's really unfortunate you don't

     actually bother to read beyond the title.

           Mr. Jordan.     Mr. Chairman, I've got 20 seconds -- I've got 4

     seconds.   I did read -- and you know what?   I did not follow her advice.

     I read the Mueller report.      She's telling people not to.

           Ms. Scanlon.    Okay.   And I know that the Mueller report then goes

     on to say that his conclusions would change if he were given access

     to additional evidence.

           I now recognize Mr. Swalwell for 5 minutes.

           Mr. Swalwell.    Thank you, Madam Chair.

           Professor Fredrickson, is there a difference between criminal

     conspiracy, something that could be proved beyond a reasonable doubt,
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     and conspiracy?

             Ms. Fredrickson.    Well, there's certainly a distinction in how

     the public talks about it and our understanding.     And one of the things

     I had, you know, was hoping to engage in with your colleague here from

     the other side of the aisle, is an understanding that all of our

     intelligence agencies have indicated that the Russians had made

     sweeping attacks on our election systems.       There were multiple

     contacts with Trump campaign officials that there were indictments,

     there were prosecutions.       There's an enormous need for Congress to

     actually probe more deeply into how this happened and how to prevent

     it from happening again.

             Mr. Swalwell.    And when you read the 200 pages of Volume I that

     lay out the multiplicity of contacts between the Trump campaign and

     the Russians, do you see a failure of imagination by prior Congresses

     to write laws that would protect us from this type of conduct and to

     have a criminal remedy?       Do you see gaps that occurred, like being

     approached and not telling the FBI that foreign adversaries are trying

     to --

             Ms. Fredrickson.    I know that Members of Congress are proposing

     such legislation.       I think it's important to, again, I think as part

     of your authorities, to examine what happened, to see if in fact the

     laws were too weak and that allowed hostile foreign powers to have undue

     influence on campaign officials and to understand how influence might

     have been reached.

             And so, yes, I think it's a very important part of your duties
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     to protect the integrity of our elections.

           Mr. Swalwell.    Thank you, Professor.

           And, Professor Gerhardt, recognizing that the Mueller report says

     criminally the laws that we have now, no proof beyond a reasonable doubt

     that there was conspiracy in Volume I.     However, functionally, as a

     Congress and constitutionally, because of the conduct that's laid out,

     is there recourse through impeachment -- just in what you have seen

     in how the Founders have described impeachment and how prior Congresses

     have engaged on impeachment, do you see a recourse for impeachment based

     on the 200 pages of just Volume I conduct?

           Mr. Gerhardt.    I think it's reasonable -- quite reasonable to

     consider the propriety of it.   I think that it is reasonable to inquire,

     to investigate, to determine evidence and, again, to be able to hear

     witnesses and put together a record that is helpful to Congress to

     understand the gravity of whatever's happened, and as well as just

     whatever did happen.

           One other thing I would just sort of emphasize in this context

     is something we've repeated a few times today, but it's really important

     to remember, and that is impeachable offenses don't have to be actual

     crimes.   And so this committee, this House, or another committee or

     another House another time, may decide that there is something that's

     really serious, and they may want to call it conspiracy or they might

     want to call it something else, and they're entitled to do that.      And

     they can take -- they have the authority to conduct proceedings to

     figure out what's happened.
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           Mr. Swalwell.   And in your reading of the report, would you agree,

     Professor Gerhardt, that the Mueller team did not look at financial

     compromise of the President or anyone on his team?

           Mr. Gerhardt.    That's correct.     And, again --

           Mr. Swalwell.   And I'll just let you -- let me add on to that.

     And would you agree that an impeachment inquiry would not prohibit the

     inquiring body from looking at financial compromise?

           Mr. Gerhardt.    That's correct.

           Mr. Swalwell.    Great.   Thank you.

           And I would yield back.    Thank you.

           Ms. Scanlon.    Okay.   Thank you.

           Okay.   This will conclude today's hearing.     I want to thank all

     the witnesses for attending.     We really appreciate your insights.

           And without objection, all members will have 5 legislative days

     to submit additional written questions for the witnesses or additional

     materials for the record.

           Without objection, the hearing's adjourned.

           [Whereupon, at 11:47 a.m., the committee was adjourned.]
